Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 1 of 62 Page ID #:14




                  EXHIBIT A

                                                                   EXHIBIT A, PAGE 13
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 2 of 62 Page ID #:15

                                                                         Service of Process
                                                                         Transmittal
                                                                         12/22/2021
                                                                         CT Log Number 540781867
    TO:     Jeff Knipmeyer
            Sms Holdings, Inc.
            7135 CHARLOTTE PIKE STE 100
            NASHVILLE, TN 37209-5015

    RE:     Process Served in California

    FOR:    MYDATT SERVICES, INC. (Domestic State: OH)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                Re: CESAR J BARRIOS GARAY individually and behalf of those similarly situated // To:
                                    MYDATT SERVICES, INC.
    DOCUMENT(S) SERVED:             --
    COURT/AGENCY:                   None Specified
                                    Case # 21STCV46157
    NATURE OF ACTION:               Employee Litigation
    ON WHOM PROCESS WAS SERVED:     C T Corporation System, GLENDALE, CA
    DATE AND HOUR OF SERVICE:       By Process Server on 12/22/2021 at 10:33
    JURISDICTION SERVED :           California
    APPEARANCE OR ANSWER DUE:       None Specified
    ATTORNEY(S) / SENDER(S):        None Specified
    ACTION ITEMS:                   CT will retain the current log

                                    Image SOP

                                    Email Notification, Lorraine Brooks lbrooks@smsholdings.com

                                    Email Notification, David Cater dcater@smsholdings.com

                                    Email Notification, Nickolas E. Schimmel nschimmel@smsholdings.com

                                    Email Notification, Hiram Cox hcox@smsholdings.com

                                    Email Notification, Jeff Knipmeyer jknipmeyer@smsholdings.com
                                    Email Notification, MICHELLE SCHEIBLE mscheible@smsholdings.com

                                    Email Notification, Bill Stejskal bstejskal@smsholdings.com

                                    Email Notification, Rebecca Elzarad relzarad@smsholdings.com

    REGISTERED AGENT ADDRESS:       C T Corporation System
                                    330 N BRAND BLVD
                                    STE 700




                                                                         Page 1 of 2 / AC




                                                                                                   EXHIBIT A, PAGE 14
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                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        12/22/2021
                                                                                                        CT Log Number 540781867
    TO:         Jeff Knipmeyer
                Sms Holdings, Inc.
                7135 CHARLOTTE PIKE STE 100
                NASHVILLE, TN 37209-5015

    RE:         Process Served in California

    FOR:        MYDATT SERVICES, INC. (Domestic State: OH)




                                                      GLENDALE, CA 91203
                                                      866-665-5799
                                                      SouthTeam2@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




                                                                                                        Page 2 of 2 / AC




                                                                                                                                            EXHIBIT A, PAGE 15
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                                                             J.
                                                                  Wolters Kluwer

                          PROCESS SERVER DELIVERY DETAILS




Date:                       Wed, Dec 22, 2021

Server Name:                Carlos Canas




E ntity Served              MYDATT SERVICES, INC.

Case Number                 215TCV46157

J urisdiction               CA




  I ! 11111111111111111111!11 IV                    II




                                                                       EXHIBIT A, PAGE 16
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                                                21STCV46157

Electronically FILED by Superior Court of California, County of Los Angeles on 12/17/2021 05:53 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Desbwr,tho


                                                     SUMMONS                                                                                  FOR COURT USE ONLY
                                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                         (CITACION JUDICIAL)
      NOTICE TO DEFENDANT:
     (AVISO AL DEMANDADO):
       MYDATT SERVICES INC., dba BLOCK BY BLOCK, an Ohio corporation; and DOES 1 to 10,
       inclusive
      YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL DEMANDANTE):
       CESAR J BARRIOS GARAY individually and behalf of those similarly situated

        NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
        below.
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
       served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
       case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
       Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
       court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
        be taken without further warning from the court.
          There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
       referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
       these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
       (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
       costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
       iAVISO!Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versiOn. Lea la informaciOn a
       continuaciOn.
          Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
       corte y hacer que se entregue una copia al demandante. Una carta o una Ilamada telefOnica no lo protegen. Su respuesta por escrito tiene que estar
       en formato legal correcto Si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
       Puede encontrar estos formularios de la corte y mes informaciOn en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
       biblioteca de leyes de su condado o en la corte que le quede tries cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte que
       le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podre
       quitar su sueldo, dinero y bienes sin tries advertencia.
          Hay otros requisitos legales. Es recomendable que Ilame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
       remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
       programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
       (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la corte o el
       colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
       cualquier recuperaciOn de $10,000 6 mes de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. Tiene que
       pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
       The name and address of the court is:                                                        CASE NUMBER:(Akimero del Caso):
      (El nombre y direccion de la corte es): Superior Court for the State of California
                                              County of Los Angeles
                                                                                                    21 ST C-A./ 451 F.
                                              312 N Spring Street, Los Angeles, CA 90012
       The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el flamer()
       de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
       Marcus J. Bradley- Bradley/Gronibacher LLP 31365 Oak Crest Drive, Suite 240, Westlake Village, CA 91361 Tel:(805)270-7100
                                                                                                                E;herri R. Carter Ex ecutive Officer I Clerk   f
       DATE:                                                                       Clerk, by                                                                          , Deputy
      (Fecha)     1 21 712 U 21                                                    (Secretario)         R.LOZano                                                      (Adjunto)
      (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
      (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons,(POS-010)).
                                        NOTICE TO THE PERSON SERVED: You are served
                                                1.          as an individual defendant.
                                               2.           as the person sued under the fictitious name of (specify):
                                                                                        M ydatt Services Inc., dba Block by Block,
                                               3. XX        on behalf of (specify): an Ohio Corporation
                                                     under: XX CCP 416.10 (corporation)                                            CCP 416.60 (minor)
                                                                 CCP 416.20 (defunct corporation)                                  CCP 416.70 (conservatee)
                                                                 CCP 416.40 (association or partnership)                           CCP 416.90 (authorized person)
                                                                 other (specify):
                                               4.         by personal delivery on (date):
                                                                                                                                                                         Page 1 of 1
       Form Adopted for Mandatory Use
       Judicial Council of California
                                                                                  SUMMONS                                                       Code of Civil Procedure §5412.20, 465
                                                                                                                                                                    www.courts.ca.gov
       SUM-100 [Rev. July 1, 2009]
                                                                                                                                                   EXHIBIT A, PAGE 17
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                                             21STCV46157
                                  Assigned for all purposes to: Spring Street Courthouse, Judicial Officer: William Highberger

Electronically FILED   Superior Court of California, County of Los Angeles on 12/17/2021 05:53 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,Deputy Clerk


                 1     BRADLEY/GROMBACHER,LLP
                       Marcus Bradley, Esq.(SBN 174156)
                2      Kiley Grombacher, Esq.(SBN 245960)
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                8  MAJARIAN LAW GROUP APC
                   Garen Majarian Esq.(SBN 334104)
                9
                   18250 Ventura Boulevard
               10  Tarzana, California 91356
                   Telephone: (818)609-0807
               1 1 Facsimile: (818)609-0892
                   E-Mail: garen@majarianlawgroup.com
               12

               13 Attorneys for Plaintiff CESAR J BARRIOS
                  GARAY individually and behalf of those similarly
               14 situated

               15                                                 SUPERIOR COURT OF CALIFORNIA
                                                                     COUNTY OF LOS ANGELES
               16
                       CESAR J BARRIOS GARAY individually                                         CASE NO. 21STCV46157
               17      and behalf of those similarly situated                                     CLASS ACTION COMPLAINT:
               18
                                                                 Plaintiff,                      1. Failure to Pay Overtime Wages in
               19                                                                                   Violation of Cal. Labor Code §§
                                          v.                                                        510, 1198;
               20                                                                                2. Failure to pay all Wages and Minimum
                  MYDATT SERVICES INC., dba BLOCK BY                                                Wages in Violation of Cal. Labor Code
               21                                                                                   §§ 1194, 1197, 1198;
                  BLOCK,an Ohio corporation; and DOES 1 to
               22 10, inclusive                                                                  3. Failure to Provide Meal Periods in
                                                                                                    Violation of Cal. Labor Code §§ 226.7,
               23                                                                                   512,516 and 1198;
                                                                     Defendant.                  4. Failure to Provide Compliant Rest
               24                                                                                   Breaks Periods in Violation of Cal. Labor
                                                                                                    Code §§ 226.7, 512,516 and 1198;
               25                                                                                5. Failure to Timely Furnish Accurate
               26                                                                                   Itemized Wage Statements in Violation of
                                                                                                    Cal. Labor Code §226(a);
               27                                                                                6. Failure to Reimburse Business Expenses
                                                                                                    in violation of in Violation of Cal.Labor
               28                                                                                   Code § 2802;


                                                                                         COMPLAINT                                               EXHIBIT A, PAGE 18
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                                           7. Violations of California Business &
 1
                                              Professions Code §§ 17200, et seq.
 2
                                                   DEMAND FOR JURY TRIAL
 3

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                                       COMPLAINT                       EXHIBIT A, PAGE 19
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 1           Plaintiff, CESAR J BARRIOS GARAY (hereinafter "Plaintiff') hereby submits his

 2   Complaint against Defendant MYDATT SERVICES INC., dba BLOCK BY BLOCK, an Ohio

 3   corporation; and DOES 1 to 10 (hereinafter referred to as "Defendant") on behalf of himself and

 4   the class of all other similarly situated current and former employees of Defendant as follows:

 5                                         NATURE OF THE CASE

 6           1.      This is a class action arising out of Defendant's failure to provide their non-exempt

 7   employees with all wages, meal and rest periods in compliance with the applicable Wage Order

 8   and/or the California Labor Code, by failing to reimburse business expenses, and by failing to

 9   provide accurate, itemized wage statements.

10           2.      MYDATT SERVICES INC., dba BLOCK BY BLOCK, is an Ohio corporation that

11   is part of the investigation and security services industry, with its principal location in Nashville,

12   Tennessee. At all relevant times, Defendant issued and maintained uniform, standardized

13   scheduling and timekeeping practices and procedures for all non-exempt, hourly paid employees in

14   California, including Plaintiff and others similarly situated, regardless of their location or position.

15           3.      Defendant has maintained practices across its locations which have failed and

16   continue to fail to pay Plaintiff and other non-exempt employees all wages. Specifically, Defendant

17   subjects its non-exempt employees to work off-the-clock. Plaintiff and other non-exempt

18   employees are required to arrive to their work locations approximately five (5) minutes early and

19   put on their uniforms and wash hands prior to each shift. Further, Plaintiff alleges Defendant only

20   had one time clock, and there would be four to five employees clocking in at the same time. As a

21   result, Plaintiff and other non-exempt employees were required to wait in line without

22   compensation.

23           4.      Plaintiff and other non-exempt employees were also required to change out of their

24   uniforms after each shift.

25           5.      Further, meal breaks are short and frequently interrupted as a result of needing to

26   wash hands post Covid, and Defendant's requirement that Plaintiff and other non-exempt

27   employees change out of their uniforms. Further, meal and rest breaks are late as a result of

28   requiring Plaintiff and other non-exempt employees to work off the clock.

                                                         1
                                                   COMPLAINT                             EXHIBIT A, PAGE 20
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 1           6.     Plaintiff and non-exempt employees were also required to keep their phones on

 2   during their meal breaks so that management may contact them as needed.

 3           7.     In light of the foregoing, Defendant failed to provide Plaintiff and other non-exempt

 4   employees with compliant wage statements.

 5           8.      Defendant also had a practice of failing to reimburse business related expenses such

 6   as the purchase of face masks as Plaintiff and non-exempt employees are required to wear face

 7   masks while carrying out their job duties.

 8           9.     Plaintiff brings Causes of Action One through Seven (the "class claims") as a class

 9   action on behalf of himself and other similarly situated individuals who have worked for Defendant

10   in California, at any time from four-years prior to the filing of this complaint, through the resolution

11   of this action. Plaintiff, on his own behalf and on behalf of all Class Members, brings the class

12   claims pursuant to California Labor Code §§ 226, 226.7, 510, 512, 516, 1174, 1194, 1194.2, 1197,

13   1 198, 2802, the applicable Wage Order and under Business & Professions Code §§ 17200-17208,

14 for unfair competition due to Defendant's unlawful, unfair and fraudulent business acts and

15   practices.

16           10.    Plaintiff is informed and believes, and based thereon alleges, Defendant has

17   engaged in, among other things a system of willful violations of the California Labor Code and the

18   applicable IWC Wage Orders by creating and maintaining policies, practices and customs that

19   knowingly deny employees the above stated rights and benefits.

20                                                     PARTIES

21           1 1.   Plaintiff, Cesar J Barrios Garay is an individual over the age of eighteen (18) and is

22   now, and/or at all relevant times mentioned in this Complaint was, a resident and domiciliary of the

23   State of California. Plaintiff has worked for Defendant since approximately 2014. Plaintiff

24   currently works for a contract that Defendant has with the City of West Hollywood. Plaintiff works

25   as an 'ambassador' and earns approximately $18.60 per hour.

26           12.    Plaintiff is informed and believes, and based thereon alleges, that Defendant Mydatt

27   Services Inc. dba Block by Block is an Ohio corporation. Plaintiff is further informed and believes

28   that at all times relevant hereto, Defendant has transacted, and continues to transact, business
                                                        2
                                                  COMPLAINT                             EXHIBIT A, PAGE 21
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  1   throughout the State of California.

  2          13.     Plaintiff is informed and believes, and based upon such information and belief

  3   alleges, that Defendant is, now and/or at all times mentioned in this Complaint was in some manner

  4   legally responsible for the events, happenings and circumstances alleged in this Complaint.

  5          14.     Plaintiff is further informed and believes, and based upon such information and

  6   belief alleges, that at all times herein mentioned, Defendant proximately caused Plaintiff, all others

  7   similarly situated, and the general public to be subjected to the unlawful practices, wrongs,

  8   complaints, injuries and/or damages alleged in this Complaint.

  9          15.     Plaintiff is informed and believes and based thereon alleges that at all times herein

 10   mentioned, Defendant and DOES 1 through 10, are and were corporations, business entities,

 11   individuals, and partnerships, licensed to do business and actually doing business in the State of

 12   California.

 13          16.     Plaintiff does not know the true names or capacities, whether individual, partner or

 14   corporate, of the Defendant sued herein as DOES 1 through 10, inclusive, and for that reason, said

 15   Defendants are sued under such fictitious names, and Plaintiff prays for leave to amend this

 16   complaint when the true names and capacities are known. Plaintiff is informed and believes and

 17   based thereon alleges that each of said fictitious Defendants were responsible in some way for the

 18   matters alleged herein and proximately caused Plaintiff and members of the general public and

 19   class to be subject to the illegal employment practices, wrongs and injuries complained of herein.

 20          17.     At all times herein mentioned, each of said Defendants participated in the doing of

 21   the acts hereinafter alleged to have been done by the named Defendants; and furthermore, the

 22   Defendants, and each of them, were the agents, servants and employees of each of the other

 23   Defendants, as well as the agents of all Defendants, and at all times herein mentioned, were acting

 24   within the course and scope of said agency and employment.

 25          18.     Plaintiff is informed and believes and based thereon alleges that at all times material

 26   hereto, each of the Defendants named herein were the agent, employee, alter ego and/or joint

 27   venturer of, or working in concert with each of the other co-Defendants and were acting within the

 28   course and scope of such agency, employment, joint venture, or concerted activity. To the extent

                                                        3
                                                  COMPLAINT                            EXHIBIT A, PAGE 22
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  1   said acts, conduct, and omissions were perpetrated by certain Defendants, each of the remaining

  2   Defendants confirmed and ratified said acts, conduct, and omissions of the acting Defendants.

  3           19.    At all times herein mentioned, Defendants, and each of them, were members of, and

  4   engaged in, a joint venture, partnership and common enterprise, and acting within the course and

  5   scope of, and in pursuance of, said joint venture, partnership and common enterprise.

  6          20.     At all times herein mentioned, the acts and omissions of various Defendants, and

  7   each of them, concurred and contributed to the various acts and omissions of each and all of the

  8   other Defendants in proximately causing the injuries and damages as herein alleged. At all times

  9   herein mentioned, Defendants, and each of them, ratified each and every act or omission

 10   complained of herein. At all times herein mentioned, the Defendants, and each of them, aided and

 11   abetted the acts and omissions of each and all of the other Defendants in proximately causing the

 12   damages as herein alleged.

 13          21.     The members of the class (as defined below), including the representative Plaintiff

 14   named herein, have been employed during the Class Period in California. The practices and policies

 15   which are complained of by way ofthis Complaint are enforced throughout the State of California.

 16                                 JURISDICTION AND VENUE

 17          22.     The Court has jurisdiction over this class action pursuant to Article 6, § 10 of the

 18   California Constitution and California Code ofCivil Procedure § 410.10.

 19          23.     Additionally, this Court has jurisdiction over Plaintiff's and the Class' claims for

 20   injunctive relief, including restitution of earned wages, arising from Defendant's unfair

 21   competition under Business & Professions Code §§ 17203 and 17204.

 22          24.     The Court has jurisdiction over Defendant because it is authorized to do business in

 23   the State of California and is registered with the California Secretary of State. Defendant does

 24   sufficient business with sufficient minimum contacts in California, and/or otherwise intentionally

 25   avails itself of the California market through the advertising, marketing and sale of goods and

 26   services, to render the exercise of jurisdiction over Defendant by the California court consistent

 27   with traditional notions of fair play and substantial justice.

 28          25.     Venue is proper in Los Angeles County because the acts which give rise to this

                                                         4
                                                   COMPLAINT                            EXHIBIT A, PAGE 23
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  1   litigation occurred in this county and because Defendant has employed class members in this

  2   county and transacts business in this county.

  3                                     FACTUAL ALLEGATIONS

  4            26.   Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

  5            27.   Defendant has engaged in, and continues to engage in, unfair business practices in

  6   California by practicing, employing and utilizing the employment practices and policies outlined

  7   above.

  8   Defendant's Failure to Pay Overtime Wages

  9            28.   During the Class Period, upon information and belief, Defendant had, and continues

 10   to have, a company-wide policy of discouraging and impeding Plaintiff and other non-exempt

 11   employees from recording hours worked that were outside of their scheduled shifts in order to limit

 12   the amount of overtime employees could accrue. On information and belief, this policy of limiting

 13   overtime, led Plaintiff and other aggrieved employees to work off-the-clock before and after their

 14   scheduled shift times. For example, prior to almost every shift, Plaintiff is required to arrive

 15   approximately five (5) minutes early and put on his uniform and wash hands. Further, as Defendant

 16   only has one time clock, Plaintiff is required to wait in line to clock in, as four to five other

 17   employees would be clocking in at the same time. Defendant also requires Plaintiff to change out

 18   his uniform during his lunch breaks and after clocking out. When this occurs, Plaintiff is unable to

 19   record this off-the-clock work because Defendant's management prohibited them from recording

 20   hours worked outside of their scheduled shifts.

 21            29.   At all times, Plaintiff and other non-exempt employees remained under the control

 22   of Defendant. Defendant could have recorded this off-the-clock work, but refused to do so to avoid

 23   paying Plaintiff and other non-exempt employees overtime wages.

 24            30.   Therefore, Plaintiff and other non-exempt employees were not paid overtime wages

 25   for all of the overtime hours they actually worked.

 26   Defendant's Failure to Pay all Wages and Minimum Wages

 27            31.   As stated above, during the relevant time period, as a result of Defendant's policy of

 28   limiting the amount of overtime employees could accrue, Plaintiff and other non-exempt

                                                        5
                                                  COMPLAINT                            EXHIBIT A, PAGE 24
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  1   employees are forced to work off-the-clock before their scheduled shift start times to change into

  2   their uniforms, wash hands, and wait in line to clock in. In addition, as set forth above, Defendant

  3   has a company-wide practice of requiring employees to change out of their uniforms during their

  4   meal breaks and after clocking out.

  5          32.        To the extent that these off-the-clock hours did not qualify for overtime premium

  6   payment, Defendant did not pay at least minimum wages for those hours worked off-the-clock.

  7   Defendant's Failure to Provide Compliant Meal Periods

  8          33.        As stated above, Defendant had, and continues to have, a company-wide policy

  9   and/or practice of failing to provide Plaintiff and other non-exempt employees with all timely,

 10   uninterrupted meal periods to which they were, and are, entitled. As a result, Plaintiff and other

 11   non-exempt employees were forced to work in excess of five (5) hours before taking a meal period

 12   and, at times, had their meal periods cut short.

 13          34.        For example, Plaintiff is required to change out his uniform during his meal break

 14   and wash his hands. Further, on several occasions, Plaintiff's meal break has been interrupted by

 15   the requirement to keep his phones on during their meal breaks so that management may contact

 16   him as needed.

 17   Defendant's Failure to Provide Compliant Rest Periods

 18          35.        During the relevant time period, Defendant regularly failed to authorize and permit

 19   non-exempt employees to take a ten (10) minute rest period per each four (4) hour period worked

 20   or major fraction thereof.

 21          36.        Furthermore, on and information and belief, Defendant maintained a company-wide

 22   policy whereby employees are required to keep their phones on in case management needed to

 23   reach them. Thus, Defendant effectively maintained control over non-exempt employees.

 24          37.        Additionally, as a result of requiring Plaintiff and other non-exempt employees to

 25   work off the clock, rest breaks were not timely provided, and Defendant failed to pay in a premium

 26   in lieu thereof

 27   Defendant's Failure to Provide Compliant Wage Statements

 28          38.        During the relevant time period, Defendant has knowingly and intentionally

                                                         6
                                                   COMPLAINT                           EXHIBIT A, PAGE 25
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  1   provided Plaintiff and other non-exempt employees with uniform, incomplete, and inaccurate wage

  2   statements. For example, Defendant issued uniform wage statements to Plaintiff and other non-

  3   exempt employees that fail to correctly list: gross wages earned; total hours worked; net wages

  4   earned; and all applicable hourly rates in effect during the pay period, including rates of pay for

  5   overtime wages and/or meal and rest period premiums, and the corresponding number of hours

  6   worked at each hourly rate.

  7           39.    Because Defendant did not record the time Plaintiff and other non-exempt

  8   employees spent working off-the-clock and cut meal breaks short (and therefore time for which

  9   they should have been paid), and failed to provide compliant rest breaks, Defendant did not list the

 10   correct amount of gross wages and net wages earned by Plaintiff and other non-exempt employees

 11   in compliance with California Labor Code §§ 226(a)(1) and 226(a)(5), respectively.

 12           40.    For the same reason, Defendant failed to accurately list the total number of hours

 13   worked by Plaintiff and other non-exempt employees, and failed to list the applicable hourly rates

 14   of pay in effect during the pay period and the corresponding accurate number of hours worked at

 15   each hourly rate.

 16           41.    Because Defendant failed to provide the correct net and gross wages earned,

 17   applicable rates of pay, and number of total hours worked on wage statements, Plaintiff and other

 18   non-exempt employees have been prevented from verifying, solely from information on the wage

 19   statements themselves, that they were paid correctly and in full. Instead, Plaintiff and other non-

 20   exempt employees have had to look to sources outside of the wage statements themselves and

 21   reconstruct time records to determine whether in fact they were paid correctly and the extent of

 22   underpayment, thereby causing them injury.

 23   Defendant's Failure to Reimburse Business Expenses

 24           42.    During the relevant time period, Defendant had a company-wide policy of requiring

 25   Plaintiff and other non-exempt employees to purchase their own face masks which were mandatory

 26   for their work. Defendant has failed to reimburse Plaintiff and other non-exempt employees for this

 27   cost.

 28   //

                                                       7
                                                 COMPLAINT                            EXHIBIT A, PAGE 26
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  1   Facts Regarding Willfulness

  2          43.     Plaintiff is informed and believes, and based thereon alleges, that Defendant is and

  3   was advised by skilled lawyers, other professionals, employees with human resources background

  4   and advisors with knowledge of the requirements of California wage and hour laws and that at all

  5   relevant times, Defendant knew or should have known, that the Plaintiff Class members, including

  6   Plaintiff, were entitled to receive one hour of pay at the employee's regular rate of compensation

  7   for each day that a meal period was not provided and were and are entitled to received pay for all

  8   hours worked and accurate itemized wage statements.

  9   Unfair Business Practices

 10          44.     Defendant has further engaged in, and continues to engage in, unfair business

 11   practices in California by practicing, employing and utilizing the unlawful employment practices

 12   and policies outlined above.

 13          45.     As a direct result of the wage and hour violations herein alleged, Plaintiff and

 14   members of the Plaintiff Class have suffered, and continue to suffer substantial losses related to the

 15   use and enjoyment of wages, lost interest on such wages, and expenses and attorneys' fees in

 16   seeking to compel Defendant to fully perform its obligations under state law, all to Plaintiff's and

 17   the Plaintiff Class members' respective damage in amounts according to proof at the time of trial.

 18   Plaintiff's Exhaustion ofAdministrative Remedies

 19          46.     Plaintiff is currently complying with the procedures for bringing suit specified in

 20   California Labor Code § 2699.3.

 21          47.     By letter dated December 17, 2021, required notice was provided to the Labor and

 22   Workforce Development Agency ("LWDA") and Defendant, of the specific provisions of the

 23   California Labor Code alleged to have been violated, including the facts and theories to support the

 24   alleged violations.

 25          48.     This Complaint will be amended when more than sixty-five (65) days have passed

 26   since the date the notice was mailed to Defendant and the LWDA, if the LWDA chooses not to

 27   investigate the allegations herein.

 28   //

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  1                                 CLASS ACTION ALLEGATIONS

  2          49.        Plaintiff incorporates all preceding paragraphs as though fully set forth herein.

  3          50.        Pursuant to California Code of Civil Procedure § 382, this action is brought and

  4   may be properly maintained as a class action. This action satisfies the ascertainability, numerosity,

  5   commonality, typicality, adequacy, predominance, and superiority requirements of those

  6   provisions.

  7          51.        Plaintiff brings this suit as a class action on behalf of individuals defined as follows:

  8          52.        Plaintiff Class: All persons who have been, or currently are, employed by Defendant

  9   and who held, or hold, job positions which Defendant has classified as "non-exempt" employees in

 10   the State of California, at any time since four years prior to filing this action, through the date

 11   judgment is rendered in this action.

 12          53.        Numerosity: Plaintiff is informed and believes, and on that basis alleges, that during

 13   the class period hundreds of class members have been employed by Defendant as non-exempt

 14   employees in the State of California. Because so many persons have been employed by Defendant

 15   in this capacity, the members of the Plaintiff Class are so numerous that joinder of all members is

 16   impossible and/or impracticable.

 17          54.        Common Questions ofLaw and/or Fact: Common questions of law, in fact, exist as

 18   to all members of the Plaintiff Class and predominate over any questions affecting solely individual

 19   members of the Plaintiff Class. Among the questions of law and fact, that are relevant to the

 20   adjudication of class members' claims are as follows:

 21                a. Whether Plaintiff and Class Members are subject to and entitled to the benefits of

 22                     California wage and hour statutes;

 23                b. Whether Defendant failed to pay Plaintiff and Class Members for all hours worked;

 24                c.   Whether Defendant failed to pay Plaintiff and Class Members all overtime;

 25                d. Whether Defendant had a standard policy of not providing compliant meal breaks

 26                     and premiums to Plaintiff and members of the Plaintiff Class;

 27                e. Whether Defendant had a standard policy of not providing compliant rest breaks and

 28                     premiums to Plaintiff and members of the Plaintiff Class;

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  1                f. Whether Defendant unlawfully and/or willfully failed to provide Plaintiff and

  2                   members of the Plaintiff Class with true and proper wage statements upon payment

  3                   of wages, in violation of California Labor Code § 226;

  4                g. Whether Defendant failed to reimburse Plaintiff and members of the Plaintiff Class

  5                   for business-related expenses;

  6                h. Whether Plaintiff and members of the Plaintiff Class sustained damages, and if so,

  7                   the proper measure of such damages, as well as interest, penalties, costs, attorneys'

  8                   fees, and equitable relief;

  9                i. Whether Defendant's conduct as alleged herein violates the Unfair Business

 10                   Practices Act of California, Bus. & Prof Code § 17200, et seq.

 11          55.      Typicality: The claims of the named Plaintiff are typical of the claims of the

 12   members of the Plaintiff Class. Defendant's common course of conduct in failing to provide their

 13   non-exempt employees with meal periods and all wages in compliance with the applicable Wage

 14   Order or premium compensation at the regular rate in lieu thereof, and failing to provide them with

 15   compliant wage statements has caused Plaintiff and the proposed Class to sustain the same or

 16   similar injuries and damages. Plaintiff's claims are thereby representative of and co-extensive with

 17   the claims of the proposed Class. Plaintiff and the proposed Class sustained the same or similar

 18   injuries and damages arising from Defendant's common policies, practices, procedures, protocols,

 19   routines, and rules which were applied to other class members as well as Plaintiff Plaintiff seeks

 20   recovery for the same type of losses, injuries, and damages as were suffered by other members of

 21   the proposed class.

 22          56.      Adequacy of Representation: Plaintiff is a representative of the proposed class

 23   because he is a members of the class, and his interests do not conflict with the interests of the

 24   members he seeks to represent. Plaintiff has retained competent counsel, experienced in the

 25   prosecution of complex class actions, and together Plaintiff and his counsel intend to prosecute this

 26   action vigorously for the benefit of the class. The interests of the Class Members will fairly and

 27   adequately be protected by Plaintiff and their attorneys.

 28          57.      Superiority of Class Action: A class action is superior to other available methods for

                                                        10
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  1   the fair and efficient adjudication of this litigation since individual litigation of the claims of all

  2   Class Members is impracticable. It would be unduly burdensome to the courts if these matters were

  3   to proceed on an individual basis, because this would potentially result in hundreds of individual,

  4   repetitive lawsuits. Further, individual litigation presents the potential for inconsistent or

  5   contradictory judgments, and the prospect of a "race to the courthouse," and an inequitable

  6   allocation of recovery among those with equally meritorious claims. By contrast, the class action

  7   device presents far fewer management difficulties, and provides the benefit of a single

  8   adjudication, economics of scale, and comprehensive supervision by a single court.

  9          58.     The various claims asserted in this action are additionally or alternatively certifiable

 10   under the provisions of the California Code ofCivil Procedure § 382 because:

 11                  a.      The prosecution of separate actions by hundreds of individual class members

 12                  would create a risk of varying adjudications with respect to individual class

 13                  members, thus establishing incompatible standards of conduct for Defendant, and

 14                  b.      The prosecution of separate actions by individual class members would also

 15                  create the risk of adjudications with respect to them that, as a practical matter,

 16                  would be dispositive of the interest of the other class members who are not a party

 17                  to such adjudications and would substantially impair or impede the ability of such

 18                  non-party class members to protect their interests.

 19                                      FIRST CAUSE OF ACTION

 20                                             Unpaid Overtime

 21                (By Plaintiff and Members of the Putative Class Against Defendant)

 22          59.     Plaintiff incorporates herein by reference the allegations set forth above.

 23          60.     At all times relevant herein, which comprise the time period not less than four (4)

 24   years preceding the filing of this action, Defendant was required to compensate their hourly

 25   employees for all overtime hours worked.

 26          61.     California Labor Code §§ 510 and 1198 and the applicable Industrial Welfare

 27   Commission ("IWC") Wage Order require employers to pay employees working more than eight

 28 (8) hours in a day or more than forty (40) hours in a workweek at the rate of time-and-one-half

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  1   (11
        /
        2)times the regular rate of pay for all hours worked in excess of eight(8) hours in a day or more

  2   than forty (40) hours in a workweek. The applicable IWC Wage Order further provides that

  3   employers are required to pay employees working more than twelve (12) hours in a day overtime

  4   compensation at a rate of two (2) times their regular rate of pay. An employee's regular rate of pay

  5   includes all remuneration for employment paid to, or on behalf of, the employee, including

  6   nondiscretionary bonuses and incentive pay.

  7          62.     Defendant willfully failed to pay all overtime wages owed to Plaintiff and members

  8   of the Class. During the relevant time period, Plaintiff and members of the Class were not paid

  9   overtime premiums for all of the hours they worked in excess of eight (8) hours in a day, in excess

 10   of twelve (12) hours in a day, and/or in excess of forty (40) hours in a week, because all hours that

 11   they worked were not recorded.

 12          63.     For example, prior to almost every shift, Plaintiff is required to arrive early and put

 13   on his uniform and wash hands. Further, as Defendant only has one time clock, Plaintiff is required

 14   to wait in line to clock in, as four to five other employees would be clocking in at the same time.

 15   Defendant also requires Plaintiff and other members of the Class to change out their uniform

 16   during his lunch breaks and after they clock out When this occurs, Plaintiff is unable to record this

 17   off-the-clock work because Defendant's management prohibited them from recording hours

 18   worked outside of their scheduled shifts.

 19          64.     Defendant knew or should have known that as a result of company-wide practices

 20   and/or policies, Plaintiff and members of the Class were performing assigned duties off-the-clock

 21   before their shift and during their meal periods, and were suffered or permitted to perform work for

 22   which they were not paid. Because Plaintiff and members of the Class worked shifts of eight (8)

 23   hours a day or more or forty (40) hours a week or more, some of this off-the-clock work qualified

 24   for overtime premium pay. Therefore, Plaintiff and members of the Class were not paid overtime

 25   wages for all of the overtime hours they actually worked.

 26          65.     Defendant's failure to pay Plaintiff and members of the Class the balance of

 27   overtime compensation, as required by California law, violates the provisions of California Labor

 28   Code §§ 510 and 1198. Plaintiff and members of the Class are entitled to recover civil penalties,

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  1   attorney's fees, costs, and interest thereon.

  2                                     SECOND CAUSE OF ACTION

  3                                         Failure to Pay All Wages

  4                (By Plaintiff and Members of the Putative Class Against Defendant)

  5          66.     Plaintiff incorporates herein by reference the allegations set forth above.

  6          67.     At all times relevant herein, which comprise the time period not less than four (4)

  7   years preceding the filing of this action, Defendant was required to compensate their hourly

  8   employees for all hours worked.

  9          68.     For at least the four (4) years preceding the filing of this action, Defendant failed to

 10   compensate employees for all hours worked. Defendant implemented policies that actively

 11   prevented employees from being compensated for all time worked by subjecting Plaintiff and

 12   members of the Class to work off-the-clock.

 13          69.     Under the above-mentioned Wage Order and state regulations, Plaintiff and the

 14   Plaintiff Class are entitled to recover compensation for all hours worked, but not paid, for the four

 15 (4) years preceding the filing of this action, in addition to reasonable attorney's fees and costs of

 16   suit in accordance with California Labor Code § 218.5, and penalties pursuant to California Labor

 17   Code §§ 203 and 206.

 18          70.     The applicable IWC Wage Order defines "hours worked" to mean "the time during

 19   which an employee is subject to the control of an employer and includes all the time the employee

 20   is suffered or permitted to work, whether or not required to do so."

 21          71.     Defendant suffered or permitted Plaintiff and members of the Plaintiff Class to work

 22   portions of the day for which Defendant failed to compensate them. This includes time spent under

 23   Defendant's control prior to clocking in and after clocking out. Specifically, as alleged above, prior

 24   to almost every shift, Plaintiff is required to arrive approximately five (5) minutes early and put on

 25   his uniform and wash hands. Further, as Defendant only has one time clock, Plaintiff is required to

 26   wait in line to clock in, as four to five other employees would be clocking in at the same time.

 27   Defendant also requires Plaintiff and members of the Class to change out their uniform during their

 28   lunch breaks and after they clock out. When this occurs, Plaintiff is unable to record this off-the-

                                                         13
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  1   clock work because Defendant's management prohibited them from recording hours worked

  2   outside of their scheduled shifts.

  3          72.     California Labor Code § 1194(a) provides in relevant part: "Notwithstanding any

  4   agreement to work for a lesser wage, any employee receiving less than the legal minimum wage ...

  5   is entitled to recover in a civil action the unpaid balance of the full amount of this minimum wage

  6   ... including interest thereon, reasonable attorney's fees, and costs of suit."

  7          73.     California Labor Code § 1194.2(a) provides in relevant part: "In any action under

  8   Section 1193.6, 1194, or 1197.1 to recover wages because of the payment of a wage less than the

  9   minimum wage fixed by an order of the commission ... an employee shall be entitled to recover

 10   liquidated damages in an amount equal to the wages unlawfully unpaid and interest thereon."

 11          74.     California Labor Code § 1197 provides: "The minimum wage for employees fixed

 12   by the commission ... is the minimum wage to be paid to employees, and the payment of a lower

 13   wage than the minimum so fixed is unlawful."

 14          75.     Plaintiff is informed and believes, and therefore alleges, that Defendant's

 15   compensation schemes do not fairly compensate Plaintiff and other Class Members for all hours

 16   spent performing their job duties.

 17          76.     The failure to pay at least minimum wages to Plaintiff and members of the Plaintiff

 18   Class for each and every hour worked violates California Labor Code §§ 1194, 1194.2, and 1197;

 19   the applicable IWC Wage Order, section 4; and California Business & Professions Code.

 20          77.     The failure to pay designated wages to Plaintiff and members of the Plaintiff Class

 21   for each and every hour worked violates California Labor Code §§ 221 and 223; IWC Wage Order;

 22   and California Business & Professions Code.

 23          78.     During the applicable time period, Defendant has and continues to have a pattern

 24   and practice of not providing its employees all wages, by failing to include all compensable time,

 25   including time worked off-the-clock.

 26          79.     As a proximate result of the above-mentioned violations. Plaintiff and the Plaintiff

 27   Class have been damaged in an amount according to proof at time of trial.

 28   //

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  1                                     THIRD CAUSE OF ACTION

  2                                      Non-Compliant Meal Breaks

  3                (By Plaintiff and Members of the Putative Class Against Defendant)

  4          80.     Plaintiff hereby incorporates by reference each and every one of the allegations

  5   contained in the preceding paragraphs as if the same were fully set forth herein.

  6          81.     Plaintiff is informed and believes, and thereon allege, that Plaintiff and the Class

  7   Members regularly worked more than five (5) hours per shift and were entitled to a meal period of

  8   not less than thirty (30) minutes without duty.

  9          82.     Nevertheless, Plaintiff is informed and believes, and thereon alleges, that Defendant

 10   routinely failed to provide Plaintiff and the members of the Class with such meal periods without

 11   duty, notwithstanding the fact that Plaintiff and the members of the Class had not waived their right

 12   to the same. Thus, Defendant failed to provide Plaintiff and the members of the Class with meal

 13   periods required by California Labor Code §§ 226.7, 512, 516 and IWC Wage Order, section 11

 14   and categorically failed to pay any and all meal period wages due.

 15          83.     Plaintiff and Class Members seek damages pursuant to California Labor Code §

 16   226.7(b) and IWC Wage Order section 11(D), in the amount of one additional hour of pay at the

 17   regular rate for each work day that the meal period is/was not provided to Plaintiff and any member

 18   of members of the Class, the cumulative sum of which is to be determined at trial.

 19          84.     Under the foregoing, California employers must provide meal periods and authorize

 20   and permit rest periods to all employees during their shifts. In Augustus v. ABM Security Services,

 21   Inc., 2 Ca1.5th 257 (2016), the California Supreme Court reaffirmed that the required meal and rest

 22   periods must be "off-duty," which means that employees must be relieved of "all work-related

 23   duties," including the duty to remain "on call," and they must be "free from employer control" over

 24   how they "spend their time." Id. at 264, 269. Employees must have the freedom to use meal and

 25   rest periods for their own purposes. Id. at 270; Brinker Rest. Corp. v. Superior Court, 53 Ca1.4th

 26   1004, 1038-39 (2012).

 27          85.     Yet Defendant did and does not provide Plaintiff and members of the Class with

 28   meal periods during which they are completely relieved of duty for at least thirty (30) minutes by

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  1   the fifth hour of work and again by the tenth hour of work.

  2          86.     Rather, Plaintiff and members of the Class' meal periods are cut short as a result of

  3   hand washing and needing to change out of their uniforms during each meal period. Further,

  4   Plaintiff alleges that meal breaks have been interrupted by the requirement to keep their phones on

  5   during their meal breaks so that management may contact them as needed. Meal breaks are also

  6   late, as the assigned meal period time did not take into consideration the time Plaintiff and

  7   members of the Class worked off the clock.

  8          87.     Thus, Defendant has failed to perform its obligations to provide Plaintiff and the

  9   members of the Plaintiff Class with off-duty meal periods by the end of the fifth hour of work and

 10   a second meal period by the end of the tenth hour of work. Defendant also has failed to pay

 11   Plaintiff and the members of the Plaintiff Class one (1) hour of pay at the regular rate for each off-

 12   duty meal period that they have been denied.

 13          88.     On July 15, 2021, the California Supreme Court issued a decision in Ferra v. Loews

 14   Hollywood Hotel, LLC, 11 Ca1.5th 858 (2021) where the court unanimously held that employers

 15   must pay premium payments to employees for missed meal, rest, and recovery breaks at the

 16   employee's "regular rate of pay" instead of their base hourly rate. The regular rate of pay may be

 17   higher than the base hourly rate because the regular rate of pay must include all nondiscretionary

 18   incentive payments, including nondiscretionary bonuses and overtime.

 19          89.     Defendant knew or should have known that as a result of its policies and/or

 20   practices, that Plaintiff and members of the Class were not actually relieved of all duties to take

 21   timely, uninterrupted meal periods. Defendant further knew or should have known that it did not

 22   pay Plaintiff and members of the Class all meal period premiums when meal periods were missed,

 23   late, short, and/or interrupted. Furthermore, Defendant has engaged in a company-wide practice

 24   and/or policy of not paying meal period premiums owed when compliant meal periods are not

 25   provided. Because of this practice and/or policy, Plaintiff and members of the Class have not

 26   received all premium pay for missed, interrupted, or late meal periods.

 27          90.     Accordingly, Defendant failed to provide all meal periods in violation of California

 28   Labor Code §§ 226.7, 512(a), 516, and 1198.

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  1          91.     Plaintiff and members of the Class are entitled to civil penalties, attorney's fees,

  2   costs, and interest thereon.

  3                                    FOURTH CAUSE OF ACTION

  4                                      Non-Compliant Rest Breaks

  5                (By Plaintiff and Members of the Putative Class Against Defendant)

  6          92.     Plaintiff hereby incorporates by reference each and every one of the allegations

  7   contained in the preceding paragraphs as if the same were fully set forth herein.

  8          93.     California Labor Code sections 226.7, 516, and 1198, and the applicable IWC Wage

  9   Order require employers to provide rest periods and to pay an employee one (1) additional hour of

 10   pay at the employee's regular rate for each work day that a meal or rest period is not provided.

 11          94.     California Labor Code section 226.7 provides that no employer shall require an

 12   employee to work during any rest period mandated by an applicable order of the California IWC.

 13   The applicable IWC Wage Order provides that "[e]very employer shall authorize and permit all

 14   employees to take rest periods, which insofar as practicable shall be in the middle of each work

 15   period" and that the "rest period time shall be based on the total hours worked daily at the rate of

 16   ten (10) minutes net rest time per four (4) hours or major fraction thereof' unless the total daily

 17   work time is less than three and one-half(3 /
                                                  1
                                                  2)hours.

 18          95.     To comply with its obligation to authorize and permit rest periods under California

 19   Labor Code section 226.7 and the applicable IWC Wage Order, an employer must "relinquish any

 20   control over how employees spend their break time, and relieve their employees of all duties

 21   including the obligation that an employee remain on call. A rest period, in short, must be a period

 22   of rest." Augustus, etal. v. ABM Security Services, Inc., 2 Cal. 5th 257, 269-270 (2016).

 23          96.     During the Class Period, Defendant regularly failed to authorize and permit

 24   members of the Class to take a ten (10) minute rest period per each four (4) hour period worked or

 25   major fraction thereof. This was a result of Defendant requiring members of the Class to have their

 26   phones on in case management needed to contact them. Further, as a result of requiring Plaintiff

 27   and members of the Class to work off the clock, rest breaks were provided late.

 28          97.     As a result of Defendant's practices and policies, Class members worked shifts in

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  1   excess of 3.5 hours, in excess of 6 hours, and/or in excess of 10 hours without receiving an

  2   uninterrupted 10-minute rest periods to which they were entitled.

  3          98.       Defendant also has engaged in a company-wide practice and/or policy of not paying

  4   rest period premiums owed when compliant rest periods are not authorized and permitted. Because

  5   of this practice and/or policy, Plaintiff and members of the Class have not received premium pay

  6   for all missed rest periods. Alternatively, to the extent that Defendant did pay Plaintiff and

  7   members of the Class one (1) additional hour of premium pay for missed rest periods, Defendant

  8   did not pay Plaintiff and members of the Class at the correct rate of pay for premiums because

  9   Defendant failed to include all forms of compensation, such as overtime pay in the regular rate of

 10   pay.

 11           99.      Accordingly, Defendant failed to authorize and permit all rest periods in violation of

 12   California Labor Code sections 226.7, 516, and 1198. Plaintiff and members of the Class are

 13   entitled to civil penalties, attorney's fees, costs, and interest thereon.

 14                                       FIFTH CAUSE OF ACTION

 15                         Failure to Furnish Accurate Itemized Wage Statements

 16                  (By Plaintiff and Members of the Putative Class Against Defendant)

 17           100.     Plaintiff hereby incorporates by reference each and every one of the allegations

 18   contained in the preceding paragraphs as if the same were fully set forth herein.

 19           101.     California Labor Code § 226(a) and IWC Wage Order, section 7(B) requires

 20   employers to furnish each employee with a statement itemizing, among other things, the total hours

 21   worked by the employee, on a semi-monthly basis or at the time of each payment of wages.

 22           102.     California Labor Code § 226(e) provides that if an employer fails to comply with

 23   providing an employee with properly itemized wage statements as set forth in Labor Code

 24   § 226(a), then the employee is entitled to recover the greater of all actual damages or $50 for the

 25   initial pay period in which a violation occurs and $100 per employee for each violation in a

 26   subsequent pay period, not to exceed $4,000. Further, Labor Code § 226.3 provides that any

 27   employer who violates Labor Code § 226(a) shall be subject to a civil penalty in the amount of

 28   $250 per employee per violation in an initial citation and $1,000 per employee for each violation in

                                                          18
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  1   a subsequent citation, for which the employer fails to provide the employee a wage statement or

  2   fails to keep the required records pursuant to section 226(a).

  3             103.   Defendant knowingly and intentionally failed to furnish Plaintiff and the members

  4   of the Class with timely, itemized statements in compliance with California Labor Code § 226(a)

  5   and IWC Wage Order section 7(B).

  6             104.   Plaintiff is informed and believes, and thereon alleges, that Defendant knowingly

  7   and intentionally failed to furnish Plaintiff and members of the Class with timely, itemized

  8   statements showing (a) total hours, (b) gross wages earned, (c) all deductions, and/or (d) all

  9   applicable hourly rates in effect during each respective pay period and the corresponding number

 10   of hours worked at each hourly rate by each respective individual.

 11             105.   Plaintiff is informed and believes, and thereon alleges, that Defendant did not

 12   maintain accurate business records pertaining to the total hours worked for Defendant by Plaintiff

 13   and the members of the Class as required under California Labor Code § 1174.5. This is a result of

 14   missing hours worked, incorrect rates of pay, and missed meal and rest break premiums.

 15             106.   As a result of not having kept accurate records, Plaintiff and the Class Members

 16   suffered injuries in the form of confusion over whether they received all wages owed to them, and

 17   difficulty and expense in reconstructing pay records in addition to other injuries which may come

 18   to light during the discovery process.

 19             107.   California Labor Code § 1198 provides that the maximum hours of work and the

 20   standard conditions of labor shall be those fixed by the Labor Commissioner and as set forth in the

 21   applicable IWC Wage Order. Section 1198 further provides that "[t]he employment of any

 22   employees for longer hours than those fixed by the order or under conditions of labor prohibited by

 23   the order is unlawful." Pursuant to the applicable IWC Wage Order, employers are required to keep

 24   accurate time records showing when the employee begins and ends each work period and meal

 25   period.

 26             108.   During the relevant time period, Defendant failed, on a company-wide basis, to keep

 27   accurate records of work and meal period start and stop times for Plaintiff and members of the

 28   Class, in violation of California Labor Code§ 1198.

                                                        19
                                                  COMPLAINT                           EXHIBIT A, PAGE 38
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 27 of 62 Page ID #:40



  1           109.     Plaintiff and the members of the Class herein seek damages and penalties pursuant

  2   to California Labor Code § 226(e) for Defendant's violations of California Labor Code § 226(a).

  3           1 10.    Plaintiff and Class Members also seek preliminary and permanent injunctive relief

  4   and an award of reasonable attorneys' fees and costs pursuant to California Labor Code § 226(h).

  5           1 11.     Plaintiff and the members of the Class also request relief as described below.

  6                                       SIXTH CAUSE OF ACTION

  7                                 Failure to Reimburse Business Expenses

  8                   (By Plaintiff and Members of the Putative Class Against Defendant)

  9           1 12.    Plaintiff re-alleges and incorporates all preceding paragraphs as though fully set

 10   forth herein.

 11           1 13.    California Labor Code § 2802 requires employers to pay for all necessary

 12   expenditures and losses incurred by the employee in the performance of his or her job. The purpose

 13   of Labor Code § 2802 is to prevent employers from passing off their cost of doing business and

 14   operating expenses on to their employees. Cochran v. Schwan's Home Service, Inc., 228 Cal. App.

 15   4th 1137, 1144 (2014).

 16           1 14.    The applicable wage order, provides that: "[w]hen tools or equipment are required

 17   by the employer or are necessary to the performance of a job, such tools and equipment shall be

 18   provided and maintained by the employer, except that an employee whose wages are at least two

 19 (2) times the minimum wage provided herein may be required to provide and maintain hand tools

 20   and equipment customarily required by the trade or craft."

 21           1 15.    During the Class Period Defendant had a company-wide policy requiring Plaintiff

 22   and members of the Class to purchase their own face masks which were mandatory for the job.

 23           1 16.    Defendant could have provided Plaintiff and members of the Class with face masks.

 24   Or, Defendant could have reimbursed employees for the costs of their masks or provided. Instead,

 25   Defendant passed these operating costs off onto Plaintiff and members of the Class. At all relevant

 26   times, Plaintiff did not earn at least two (2)times the minimum wage

 27           1 17.    Thus, Defendant had, and continues to have, a company-wide policy and/or practice

 28   of not reimbursing employees for expenses necessarily incurred in violation of California Labor

                                                         20
                                                    COMPLAINT                           EXHIBIT A, PAGE 39
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 28 of 62 Page ID #:41



  1   Code § 2802.

  2           1 18.   Plaintiff and members of the Class are entitled to recover civil penalties, attorney's

  3   fees, costs, and interest thereon.

  4                                    SEVENTH CAUSE OF ACTION

  5                                   VIOLATIONS OF CALIFORNIA

  6                   BUSINESS AND PROFESSIONS CODE SECTION 17200, et seq.

  7              (By Plaintiff and the Members of the Plaintiff Class Against Defendant)

  8           1 19.   Plaintiff re-alleges and incorporates all preceding paragraphs as though fully set

  9   forth herein.

 10           120.    California Business and Professions Code §17200 defines unfair competition to

 11   include,"unlawful, unfair or fraudulent business practices."

 12           121.    Plaintiff and all proposed Class Members are "persons within the meaning of

 13   Business and Professions Code §17204, who have suffered injury in fact and have lost money or

 14   property as a result of Defendant's unfair competition.

 15           122.    Defendant has been committing, and continues to commit, acts of unfair

 16   competition by engaging in the unlawful, unfair and fraudulent business practices and acts

 17   described in this Complaint, including, but not limited to:

 18           a) violations of California Labor Code §§ 510, 1198;

 19           b) violations of California Labor Code §§ 1194, 1194.2, 1197, 1198;

 20           c) violations of California Labor Code §§ 226.7, 512, 516, and 1198;

 21           d) violations of California Labor Code § 226, 1174;

 22           e) violations of California Labor Code § 2802; and

 23          f) violations of the applicable Wage Order.

 24           123.    As a result of its unlawful, unfair, and/or fraudulent business acts and practices,

 25   Defendant has reaped and continues to reap unfair benefits and illegal profits at the expense of

 26   Plaintiff and proposed Class Members. Defendant's unlawful, unfair, and/or fraudulent conduct has

 27   also enabled Defendant to gain an unfair competitive advantage over law-abiding employers and

 28   competitors.

                                                        21
                                                  COMPLAINT                            EXHIBIT A, PAGE 40
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 29 of 62 Page ID #:42



  1           124.   The Business and Professions Code §17203 provides that the Court may restore to

  2   an aggrieved party any money or property acquired by means of the unlawful, unfair, and/or

  3   fraudulent business acts or practices.

  4           125.   Plaintiff seeks a court order enjoining Defendant from the unlawful, unfair, and/or

  5   fraudulent activity alleged herein.

  6           126.   Pursuant to Civil Code §3287(a), Plaintiff and other members of the Plaintiff Class

  7   are entitled to recover pre-judgment interest on wages earned, but not paid.

  8           127.   Plaintiff further seeks an order requiring an audit and accounting of the payroll

  9   records to determine the amount of restitution of all unpaid wages owed to himself and members of

 10   the proposed Plaintiff Class, according to proof, as well as a determination of the amount of funds

 11   to be paid to current and former employees that can be identified and located pursuant to a court

 12   order and supervision.

 13           128.   Plaintiff seeks restitution for himself and all others similarly situated of these

 14   amounts, including all earned and unpaid wages and attorneys' fees and costs pursuant to Cal.

 15   Code Civ. Proc. §1021.5.

 16                                         PRAYER FOR RELIEF

 17   WHEREFORE,Plaintiff, and the Class Members pray for judgment as follows:

 18              1. For an order certifying the proposed Plaintiff Class;

 19              2. For an order that counsel for Plaintiff be appointed class counsel;

 20              3. Certification of this class action on behalf of the proposed Plaintiff Class;

 21              4. Designation of Plaintiff as the class representatives of the Plaintiff Class;

 22              5. For restitution of all monies due to Plaintiff and the members of the Plaintiff Class

 23                  and disgorgement of all profits from the unlawful business practices of Defendant;

 24              6. An order appointing Plaintiff's counsel as class counsel;

 25              7. Prejudgment and post judgment interest on all sums awarded;

 26              8. For compensatory damages;

 27              9. For penalties pursuant to California Labor Code §§ 200, 226, 226.7, 226.3;

 28              10. For interest accrued to date;

                                                        22
                                                     COMPLAINT                          EXHIBIT A, PAGE 41
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 30 of 62 Page ID #:43



  1            11. For costs of suit and expenses incurred herein pursuant to California Labor Code §§

  2               226 and 1194;

  3            12. For reasonable attorneys' fees pursuant to California Labor Code § 226, Code of

  4               Civil Procedure § 1021.5, and/or other applicable law; and

  5            13. A declaratory judgment that Defendant has knowingly and intentionally violated the

  6               following provisions of law;

  7               a.      California Labor Code §§ 510, 1198 for failing to pay overtime;

  8               b.      California Labor Code §§ 1194, 1194.2, 1197, 1198 for failing to pay

  9                       all wages;

 10               c.      California Labor Code §§ 226.7, 512, 516, and 1198 for failing to

 11                       provide compliant meal and rest breaks;

 12               d.      California Labor Code § 226, 1174 for failing to provide compliant

 13                       wage statements;

 14               e.      California Labor Code § 2802 for failing to reimburse business

 15                       expenses;

 16               f.      California Business & Professions Code §§ 17200-08 by violating

 17                       the provisions set forth herein above.

 18            14. For all such other and further relief that the Court may deem just and proper.

 19

 20

 21
      DATED: December 17, 2021                       BRADLEY/GROMBACHER,LLP
 22                                                  MAJARIAN LAW GROUP APC

 23

 24                                              By: -7/
                                                       1/a/LGLZ.d•-
                                                         Marcus Bradley sq.
 25
                                                         Kiley Grombacher, Esq.
 26                                                      Unit King, Esq.
                                                         Garen Majarian, Esq.
 27
                                                         Attorneys for Plaintiff
 28

                                                    23
                                               COMPLAINT                            EXHIBIT A, PAGE 42
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 31 of 62 Page ID #:44



                                         DEMAND FOR JURY TRIAL
  1

  2          Plaintiff hereby demands trial of Plaintiffs and the members of the Class's claims by jury

  3   to the extent authorized by law.

  4

  5
      DATED: December 17, 2021                      BRADLEY/GROMBACHER,LLP
  6                                                 MAJARIAN LAW GROUP APC

  7
                                                  By:
                                                        -111
                                                           ,a/2-C-1            54.adeat
  8
                                                           Marcus Bradl y, Esq.
  9                                                        Kiley Grombacher, Esq.
                                                           Lint King, Esq.
 10
                                                           Garen Majarian, Esq.
 11
                                                           Attorneys for Plaintiff
 12

 13

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                                                      24
                                                COMPLAINT                            EXHIBIT A, PAGE 43
Electronically FILED by Superior Court of California, County of Los Angeles on 12/17/2021 05:53 PM Sherri R. Carter, Executive Officer/Clerk of Court, by R. Lozano,DepCifkeri0
                 Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 32 ofFOR
                                                                                   62COURT
                                                                                        Page
       ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. State Bar number. and address)41 I CV4b15/      ID #:45
                                                                                           USE ONLY
      BRADLEY/GROMBACHER LLP
      Marcus J. Bradley, Esq.(SBN 174156), Kiley L. Grombacher, Esq.(SBN 245960)
      31365 Oak Crest Drive, Suite 240, Westlake Village, CA 91361

                  TELEPHONE NO.:   (805)270-7100                     FAX NO.(Optional):   (805)270-7589
         ATTORNEY FOR (Name):      Plaintiff
      SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
       STREET ADDRESS:     312 N Spring Street
       MAILING ADDRESS:
      CITY AND ZIP CODE:   Los Angeles, CA 90012
            BRANCH NAME:   Los Angeles Superior Court
      CASE NAME:
       Garay v. Mydatt Services Inc., dba Block by Block
             CIVIL CASE COVER SHEET                                    Complex Case Designation                        CASE NUMBER:

        x         Unlimited                   Limited                Counter               Joinder
                 (Amount
                                                                                                         2 -1 91- C::'..I 451 5 .1-
                                              (Amount
                                                             Filed with first appearance by defendant JUDGE:
                 demanded                     demanded is
                                                                 (Cal. Rules of Court, rule 3.402)     DEPT.:
                 exceeds $25,000)             $25,000)
                                               Items 1-6 below must be completed (see instructions on page 2).
       1.   Check one box below for the case type that best describes this case:
            Auto Tort                                             Contract                                         Provisionally Complex Civil Litigation
                    Auto (22)                                             Breach of contract/warranty (06)         (Cal. Rules of Court, rules 3.400-3.403)
                    Uninsured motorist (46)                               Rule 3.740 collections (09)                      Antitrust/Trade regulation (03)
            Other PI/PD/WD (Personal Injury/Property                      Other collections (09)                           Construction defect (10)
            Damage/Wrongful Death) Tort                                                                                    Mass tort (40)
                                                                          Insurance coverage (18)
                    Asbestos (04)                                                                                          Securities litigation (28)
                                                                         Other contract (37)
                    Product liability (24)                                                                                 Environmental/Toxic tort (30)
                                                                  Real Property
                    Medical malpractice (45)                                                                               Insurance coverage claims arising from the
                                                                         Eminent domain/Inverse
                                                                         condemnation (14)                                 above listed provisionally complex case
                    Other PI/PD/WD (23)
                                                                                                                           types (41)
            Non-PI/PO/WO(Other) Tort                                     Wrongful eviction (33)                     Enforcement of Judgment
                 Business tort/unfair business practice (07)             Other real property (26)                          Enforcement of judgment(20)
                 Civil rights (08)                           Unlawful Detainer
                                                                                                                    Miscellaneous Civil Complaint
                 Defamation (13)                                   Commercial (31)
                                                                                                                           RICO (27)
                 Fraud (16)                                        Residential (32)
                                                                                                                           Other complaint (not specified above)(42)
                 Intellectual property (19)                         Drugs (38)
                                                                                                                    Miscellaneous Civil Petition
                 Professional negligence (25)                Judicial Review
                                                                   Asset  forfeiture (05)                                  Partnership and corporate governance (21)
                 Other non-PUPD/WD tort (35)
            Employment                                             Petition re: arbitration award (11)                     Other petition (not specified above)(43)
                 Wrongful termination (36)                         Writ of mandate (02)
             X      Other employment(15)                                  Other judicial review (39)
      2. This case x is                 is not   complex under rule 3.400 of the                   California Rules of Court. If the case is complex, mark the
        factors requiring exceptional judicial management:
         a.       Large number of separately represented parties       d.   X                     Large number of witnesses
         b. x Extensive motion practice raising difficult or novel e.                             Coordination with related actions pending in one or more
                  issues that will be time-consuming to resolve                                   courts in other counties, states, or countries, or in a federal
            c.     x    Substantial amount of documentary evidence                                court
                                                                f.                                Substantial postjudgment judicial supervision
      3. Remedies sought (check all that apply):a. X monetary b.                                nonmonetary, declaratory or injunctive relief c.          punitive
      4. Number of causes of action (specify): SEVEN (7)
     5. This case x       is         is not    a class action suit.
     6. If there are any known related cases, file and serve a notice of related case.(You may use form CM-015.)
     Date: December 17, 2021
     Marcus J. Bradley, Esq.                                                                                           WiaA.cad,
                                   (TYPE OR PRINT NAME)                                                                   (SIGNATURE OF PA           OR ATTORNEY FOR P
                                                                                     NOTICE
       • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
         under the Probate Code, Family Code, or Welfare and Institutions Code).(Cal. Rules of Court, rule 3.220.) Failure to file may result
         in sanctions.
       • File this cover sheet in addition to any cover sheet required by local court rule.
       • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
         other parties to the action or proceeding.
       • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                     EXHIBIT A, PAGE 44
                                                                                                                                                                           Page 1 of 2

     Form Adopted for Mandatory Use                                                                                           Cal. Rules of Court, rules 2.30, 3.220. 3.400-3.403, 3.740;
     Judicial Council of California
                                                                    CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
     CM-010 [Rev. July 1, 2007]                                                                                                                                        www.courts.ca.gov
        Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 33 of 62 Page ID #:46
                                                                                      CM-010
                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following:(1) tort
damages,(2) punitive damages,(3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                           Provisionally Complex Civil Litigation (Cal.
    Auto (22)—Personal Injury/Property              Breach of Contract/Warranty(06)                Rules of Court Rules 3.400-3.403)
            Damage/Wrongful Death                       Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
        Uninsured Motorist (46)(if the                       Contract (not unlawful
                                                                               l f ld  detainer
                                                                                         t i             Construction Defect (10)
         case involves an uninsured                              or wrong
                                                                     wrongful eviction)                  Claims Involving Mass Tort(40)
         motorist claim subject to                      Contract/Warranty Breach—Seller                  Securities Litigation (28)
         arbitration, check this item                        Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
         instead of Auto)                               Negligent Breach of Contract/                    Insurance Coverage Claims
 Other PUPD/WD (Personal Injury/                             Warranty                                         (arising from provisionally complex
 Property Damage/Wrongful Death)                        Other Breach of Contract/Warranty                      case type listed above)(41)
 Tort                                               Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                      book accounts)(09)                            Enforcement of Judgment(20)
          Asbestos Property Damage                      Collection Case—Seller Plaintiff                  Abstract of Judgment(Out of
          Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
                 Wrongful Death                              Case                                     Confession of Judgment (non-
     Product Liability (not asbestos or             Insurance Coverage (not provisionally                  domestic relations)
           toxic/environmental)(24)                     complex)(18)                                  Sister State Judgment
      Medical Malpractice (45)                          Auto Subrogation                              Administrative Agency Award
            Medical Malpractice—                        Other Coverage                                    (not unpaid taxes)
                  Physicians & Surgeons             Other Contract (37)                                Petition/Certification of Entry of
     Other Professional Health Care                     Contractual Fraud                                  Judgment on Unpaid Taxes
               Malpractice                              Other Contract Dispute                         Other Enforcement of Judgment
     Other PI/PD/WD (23)                        Real Property                                                Case
            Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                  and fall)                             Condemnation (14)                              RICO (27)
            I ntentional Bodily lnjury/PD/WD        Wrongfu l Eviction(33)                             Other Complaint (not specified
                  (e.g., assault, vandalism)        Other Real Property (e.g., quiet title)(26)             above)(42)
            I ntentional Infliction of                  Writ of Possession of Real Property                 Declaratory Relief Only
                  Emotional Distress                    Mortgage Foreclosure                                Injunctive Relief Only (non-
            Negligent Infliction of                     Quiet Title                                               harassment)
                   Emotional Distress                   Other Real Property (not eminent                    Mechanics Lien
            Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                              foreclosure)                                              Case (non-tort/non-complex)
     Business Tort/Unfair Business              U nlawful Detainer                                          Other Civil Complaint
           Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
     Civil Rights (e.g., discrimination,            Residential(32)                                Miscellaneous Civil Petition
             false arrest)(not civil                Drugs (38)(if the case involves illegal            Partnership and Corporate
              harassment)(08)                       drugs, check this item; otherwise,                     Governance (21)
     Defamation (e.g., slander, libel)              report as Commercial or Residential)               Other Petition (not specified
              (13)                              Judicial Review                                            above)(43)
     Fraud (16)                                     Asset Forfeiture (05)                                  Civil Harassment
      I ntellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
     Professional Negligence (25)                   Writ of Mandate(02)                                    Elder/Dependent Adult
           Legal Malpractice                            Writ—Administrative Mandamus                            Abuse
           Other Professional Malpractice               Writ—Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                     Petition for Name Change
     Other Non-PUPD/WD Tort (35)                        Writ—Other Limited Court Case                      Petition for Relief From Late
 Employment                                                 Review                                               Claim
     Wrongful Termination (36)                      Other Judicial Review (39)                             Other Civil Petition
     Other Employment(15)                               Review of Health Officer Order
                                                        Notice of Appeal—Labor
                                                              Commissioner Appeals

                                                                                                                        EXHIBIT A, PAGE 45
CM-010 [Rev. July 1.2007]                                                                                                                 Page 2 of 2
                                                        CIVIL CASE COVER SHEET
            Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 34 of 62 Page ID #:47
 SHORT TITLE                                                                                           CASE NUMBER
               Garay v. Mydatt Services Inc., dba Block by Block
                                                                                                                21S-1— Cfivin 451 !=i 7

                              CIVIL CASE COVER SHEET ADDENDUM AND
                                      STATEMENT OF LOCATION
               (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

               This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.




     Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
             Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.


      Step 2: In Column B, check the box for the type of action that best describes the nature of the case.

     Step 3: In Column C, circle the number which explains the reason for the court filing location you have
                   chosen.

                                            Applicable Reasons for Choosing Court Filing Location (Column C)

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District.       7. Location where petitioner resides.
2. Permissive filing in central district.                                             8. Location wherein defendant/respondent functions wholly.
3. Location where cause of action arose.                                              9. Location where one or more of the parties reside.
4. Mandatory personal injury filing in North District.                               10. Location of Labor Commissioner Office.
                                                                                     11. Mandatory filing location (Hub Cases — unlawful detainer, limited
5. Location where performance required or defendant resides.
                                                                                     non-collection, limited collection, or personal injury).
6. Location of property or permanently garaged vehicle.




                                 A                                                          B                                                       C
                     Civil Case Cover Sheet                                          Type of Action                                      Applicable Reasons -
                           Category No.                                             (Check only one)                                      See Step 3 Above

                             Auto (22)              0 A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death               1, 4, 11
   0 -=
   S
   '0
   <   /—            U ninsured Motorist(46)        0 A7110 Personal Injury/Property Damage/Wrongful Death — Uninsured Motorist          1, 4, 11


                                                    0 A6070 Asbestos Property Damage                                                     1, 11
                          Asbestos (04)
                                                    0 A7221 Asbestos - Personal Injury/Wrongful Death                                    1, 11

                       Product Liability (24)       0 A7260 Product Liability (not asbestos or toxic/environmental)                      1, 4, 11


                                                    0 A7210 Medical Malpractice- Physicians & Surgeons                                   1,4, 11
                     Medical Malpractice (45)
                                                    0 A7240 Other Professional Health Care Malpractice                                   1, 4, 11


                                                    0 A7250 Premises Liability (e.g., slip and fall)
                         Other Personal
                         I njury Property           0 A7230 Intentional Bodily Injury/Property Damage/Wrongful Death (e.g.,
                                                                                                                                         1, 4, 11
                        Damage Wrongful                     assault, vandalism, etc.)
                            Death (23)                                                                                                   1, 4, 11
                                                    0 A7270 Intentional Infliction of Emotional Distress
                                                                                                                                         1 411
                                                    0 A7220 Other Personal Injury/Property Damage/Wrongful Death




                                                   CIVIL CASE COVER SHEET ADDENDUM                                                    Local Rule 2.3
   LASC CIV 109 Rev. 12/18
                                                      AND STATEMENT OF LOCATION                                                    EXHIBIT A, PAGE 46
                                                                                                                                       Page 1 of 4
   For Mandatory Use
                         Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 35 of 62 Page ID #:48
SHORT TITLE:                                                                                               CASE NUMBER
                           Garay v. Mydatt Services Inc., dba Block by Block


                                         A                                                        B                                              C Applicable
                               Civil Case Cover Sheet                                      Type of Action                                     Reasons - See Step 3
                                     Category No.                                         (Check only one)                                          Above

                                 Business Tort(07)          0 A6029 Other Commercial/Business Tort(not fraud/breach of contract)              1, 2,3

                                   Civil Rights(08)         0 A6005 Civil Rights/Discrimination                                               1, 2,3

                                   Defamation (13)          0 A6010 Defamation (slander/libel)                                                1, 2,3

                                     Fraud (16)             0 A6013 Fraud (no contract)                                                       1, 2,3

                                                            0 A6017 Legal Malpractice                                                         1, 2,3
                            Professional Negligence(25)
                                                            0 A6050 Other Professional Malpractice (not medical or legal)                     1, 2,3

                                     Other(35)              0 A6025 Other Non-Personal Injury/Property Damage tort                            1, 2,3


  '
  a-                          Wrongful Termination (36)     0 A6037 Wrongful Termination                                                      1, 2,3
  a)
    E
    >,                                                      CI A6024 Other Employment Complaint Case                                          1, 2,3
    o
    a_                         Other Employment(15)
    E                                                       0 A6109 Labor Commissioner Appeals                                                10
    w
                                                            0 A6004 Breach of Rental/Lease Contract(not unlawful detainer or wrongful
                                                                                                                                              2, 5
                                                                       eviction)
                             Breach of Contract/ Warranty                                                                                     2, 5
                                        (06)                0 A6008 Contract/Warranty Breach -Seller Plaintiff(no fraud/negligence)
                                  (not insurance)                                                                                             1, 2,5
                                                            0 A6019 Negligent Breach of Contract/Warranty(no fraud)
                                                                                                                                              1, 2,5
                                                            0 A6028 Other Breach of Contract/Warranty(not fraud or negligence)

                                                            0 A6002 Collections Case-Seller Plaintiff                                         5, 6, 11
                                   Collections(09)
                                                            0 A6012 Other Promissory Note/Collections Case                                    5, 11
                                                            0 A6034 Collections Case-Purchased Debt(Charged Off Consumer Debt                 5, 6, 11
                                                                    Purchased on or after January 1, 2014)

                              Insurance Coverage (18)       0 A6015 Insurance Coverage (not complex)                                          1,2, 5, 8

                                                            0 A6009 Contractual Fraud                                                         1, 2,3, 5
                                 Other Contract(37)         0 A6031 Tortious Interference                                                     1, 2,3, 5
                                                            0 A6027 Other Contract Dispute(not breach/insurance/fraud/negligence)             1, 2,3, 8,9

                               Eminent Domain/Inverse
                                                            0 A7300 Eminent Domain/Condemnation              Number of parcels                2, 6
                                 Condemnation (14)

                                Wrongful Eviction (33)      0 A6023 Wrongful Eviction Case                                                    2,6

                                                            0 A6018 Mortgage Foreclosure                                                      2, 6
                              Other Real Property(26)       0 A6032 Quiet Title                                                               2, 6
                                                            0 A6060 Other Real Property(not eminent domain, landlord/tenant, foreclosure)     2, 6

                            Unlawful Detainer-Commercial
                                                            0 A6021 Unlawful Detainer-Commercial(not drugs or wrongful eviction)              6, 11
     Unlawful Detainer




                            Unlawful Detainer-Residential
                                                            0 A6020 Unlawful Detainer-Residential(not drugs or wrongful eviction)             6, 11
                                        (32)
                                  Unlawful Detainer-
                                                            0 A6020F Unlawful Detainer-Post-Foreclosure                                       2, 6, 11
                                Post-Foreclosure(34)

                            Unlawful Detainer-Drugs(38)     0 A6022 Unlawful Detainer-Drugs                                                   2, 6, 11



                                                            CIVIL CASE COVER SHEET ADDENDUM                                                 Local Rule 2.3
 LASC CIV 109 Rev. 12/18                                                                                                                EXHIBIT A, PAGE 47
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SHORT TITLE                                      Garay v. Mydatt Services Inc., dba Block by Block                                CASE NUMBER




                                                                A                                                        B                                   C Applicable
                                                     Civil Case Cover Sheet                                        Type of Action                         Reasons - See Step 3
                                                           Category No.                                           (Check only one)                              Above

                                                       Asset Forfeiture (05)       D A6108 Asset Forfeiture Case                                          2, 3, 6

                                                    Petition re Arbitration (11)   D A6115 Petition to Compel/Confirm/Vacate Arbitration                  2, 5
            Judicial Review




                                                                                   0 A6151 Writ -Administrative Mandamus                                  2,8
                                                       Writ of Mandate (02)        0 A6152 Writ - Mandamus on Limited Court Case Matter                   2
                                                                                   D A6153 Writ - Other Limited Court Case Review                         2

                                                    Other Judicial Review (39)     0 A6150 Other Writ /Judicial Review                                    2,8


                                                  Antitrust/Trade Regulation (03) 0 A6003 Antitrust/Trade Regulation                                      1, 2, 8
            Provisionally Complex Litigation




                                                     Construction Defect(10)       0 A6007 Construction Defect                                            1,2, 3

                                                   Claims Involving Mass Tort
                                                                                   0 A6006 Claims Involving Mass Tort                                     1, 2, 8
                                                             (40)

                                                     Securities Litigation (28)    0 A6035 Securities Litigation Case                                     1, 2, 8

                                                            Toxic Tort
                                                                                   D A6036 Toxic Tort/Environmental                                       1, 2, 3,8
                                                        Environmental (30)

                                                   I nsurance Coverage Claims
                                                                                   0 A6014 Insurance Coverage/Subrogation (complex case only)             1, 2, 5,8
                                                      from Complex Case (41)

                                                                                   0 A6141 Sister State Judgment                                          2, 5, 11
                                                                                   0 A6160 Abstract of Judgment                                           2,6
   Enforcement




                                                           Enforcement             0 A6107 Confession of Judgment(non-domestic relations)                 2, 9
                                                         of Judgment(20)           D A6140 Administrative Agency Award (not unpaid taxes)                 2, 8
                                                                                   0 A6114 Petition/Certificate for Entry of Judgment on Unpaid Tax       2, 8
                                                                                   0 A6112 Other Enforcement of Judgment Case                             2, 8, 9

                                                            RICO (27)              D A6033 Racketeering (RICO)Case                                        1, 2, 8
   Civil Complaints
    Miscellaneous




                                                                                   0 A6030 Declaratory Relief Only                                        1, 2, 8

                                                       Other Complaints            0 A6040 Injunctive Relief Only (not domestic/harassment)               2, 8
                                                   (Not Specified Above)(42)       D A6011 Other Commercial Complaint Case (non-tort/non-complex)         1, 2, 8
                                                                                   0 A6000 Other Civil Complaint (non-tort/non-complex)                   1, 2, 8

                                                     Partnership Corporation
                                                                                   D A6113 Partnership and Corporate Governance Case                      2, 8
                                                        Governance (21)

                                                                                   D A6121 Civil Harassment With Damages                                  2, 3,9
   Miscellaneous
   Civil Petitions




                                                                                   0 A6123 Workplace Harassment With Damages                              2, 3,9
                                                                                   0 A6124 Elder/Dependent Adult Abuse Case With Damages                  2, 3, 9
                                                       Other Petitions (Not
                                                      Specified Above)(43)         0 A6190 Election Contest                                               2
                                                                                   D A6110 Petition for Change of Name/Change of Gender                   2, 7
                                                                                   0 A6170 Petition for Relief from Late Claim Law                        2, 3, 8
                                                                                   0 A6100 Other Civil Petition                                           2, 9




                                                                                   CIVIL CASE COVER SHEET ADDENDUM                                      Local Rule 2.3
 LASC CIV 109 Rev. 12/18
                                                                                      AND STATEMENT OF LOCATION                                       EXHIBIT A, PAGE 48
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 SHORT TITLE                                                                          CASE NUMBER
               Garay v. Mydatt Services Inc., dba Block by Block




Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the
           type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
           (No address required for class action cases).

                                                                    ADDRESS

   REASON:

  '1.              3. 1714.E 5.   6. 1717. L18. ri 9.LII 1O.H 11.



   CITY:                                     STATE:     ZIP CODE


   West Hollywood                           CA         90046


Step 5: Certification of Assignment: I certify that this case is properly filed in the CENTRAL                           District of
            the Superior Court of California, County of Los Angeles [Code Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].




  Dated: December 17, 2021                                                       7/1aA-e_zza           Y/FILING pp04-Ty)

                                                                                  (SIGNATURE OF ATTO




  PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
  COMMENCE YOUR NEW COURT CASE:

       1. Original Complaint or Petition.
       2. If filing a Complaint, a completed Summons form for issuance by the Clerk.
       3. Civil Case Cover Sheet, Judicial Council form CM-010.

       4. Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev.
          02/16).
       5. Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.
       6. A signed order appointing the Guardian ad Litem, Judicial Council form CIV-010, if the plaintiff or petitioner is a
          minor under 18 years of age will be required by Court in order to issue a summons.

       7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum
          m ust be served along with the summons and complaint, or other initiating pleading in the case.




                                           CIVIL CASE COVER SHEET ADDENDUM                                            Local Rule 2.3
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                                              AND STATEMENT OF LOCATION                                           EXHIBIT A, PAGE 49
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                                                                                                    Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                    COUNTY OF LOS ANGELES
  COURTHOUSE ADDRESS:
                                                                                                              FILED
 Spring Street Courthouse                                                                          Superior Court of California
                                                                                                    Counlyof LosAngeles
 312 North Spring Street, Los Angeles, CA 90012
                                                                                                         12/17/2021
                   NOTICE OF CASE ASSIGNMENT                                              Mari R Cater,Executive Olica Clerk of Cour

                                                                                           BY:
                                                                                                             R.Lozano                 Depuiy
                         UNLIMITED CIVIL CASE

                                                                                    CASE NUMBER:

  Your case is assigned for all purposes to the judicial officer indicated below.   21STCV46157

                          THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE                DEPT     ROOM                    ASSIGNED JUDGE                        DEPT          ROOM
   V     William F. Highberger              10




    Given to the Plaintiff/Cross-Complainant/Attorney of Record   Sherri R. Carter, Executive Officer / Clerk of Court
    on 12/20/2021                                                        By R. Lozano                                             , Deputy Clerk
                (Date)

LACIV 190(Rev 6/18)        NOTICE OF CASE ASSIGNMENT — UNLIMITED CIVIL CASE EXHIBIT A, PAGE 50
LASC Approved 05/06
       Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 39 of 62 Page ID #:52
                                  INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES

The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days ofthe first appearance.

TIME STANDARDS
Cases assigned to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days offiling and proofof service shall be filed within 90 days.

CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed. Cross-
complaints shall be served within 30 days ofthe filing date and a proof of service filed within 60 days ofthe filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse. If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

*Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status. If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse. If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




LACIV 190 (Rev 6/18)        NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE EXHIBIT A, PAGE 51
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                   Superior Court of California, County of Los Angeles



                        ALTERNATIVE DISPUTE RESOLUTION (ADR)
                               I NFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

 CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint.




What is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration, and settlement conferences. When ADR is done by phone, videoconference or computer, it may
be called Online Dispute Resolution (ODR). These alternatives to litigation and trial are described below.

Advantages of ADR
   • Saves Time: ADR is faster than going to trial.
   •   Saves Money: Parties can save on court costs, attorney's fees, and witness fees.
   •   Keeps Control (with the parties): Parties choose their ADR process and provider for voluntary ADR.
   •   Reduces Stress/Protects Privacy: ADR is done outside the courtroom, in private offices, by phone or online.


Disadvantages of ADR
   •   Costs: If the parties do not resolve their dispute, they may have to pay for ADR, litigation, and trial.
   •   No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.

Main Types of ADR

   1. Negotiation: Parties often talk with each other in person, or by phone or online about resolving their case with a
      settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

   2. Mediation: In mediation, a neutral mediator listens to each person's concerns, helps them evaluate the
      strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
      acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.

                Mediation may be appropriate when the parties
                  • want to work out a solution but need help from a neutral person.
                  • have communication problems or strong emotions that interfere with resolution.
                Mediation may not be appropriate when the parties
                  • want a public trial and want a judge or jury to decide the outcome.
                  • lack equal bargaining power or have a history of physical/emotional abuse.



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                                 How to Arrange Mediation in Los Angeles County

       Mediation for civil cases is voluntary and parties may select any mediator they wish. Options include:

           a. The Civil Mediation Vendor Resource List
              If all parties in an active civil case agree to mediation, they may contact these organizations
              to request a "Resource List Mediation" for mediation at reduced cost or no cost (for selected
              cases).

                    • ADR Services, Inc. Case Manager Elizabeth Sanchez, elizabeth@adrservices.coni
                      (949)863-9800
                    • JAMS,Inc. Assistant Manager Reggie Joseph, RJoseph@jamsadr.com (310) 309-6209
                    • Mediation Center of Los Angeles Program Manager info@ mediationLA.org
                      (833)476-9145

      These organizations cannot accept every case and they may decline cases at their discretion. They may
      offer online mediation by video conference for cases they accept. Before contacting these organizations,
      review important information and FAQs at www.lacourt.org/ADR.Res.List

      NOTE: The Civil Mediation Vendor Resource List program does not accept family law, probate or small
      claims cases.

           b. Los Angeles County Dispute Resolution Programs
               https://hrc.lacounty.gov/wp-content/uploads/2020/05/DRP-Fact-Sheet-230ctober19-Current-as-of-October-2019-1.pdf


               Day of trial mediation programs have been paused until further notice.

               Online Dispute Resolution(ODR). Parties in small claims and unlawful detainer (eviction) cases
               should carefully review the Notice and other information they may receive about(ODR)
               requirements for their case.

           c. Mediators and ADR and Bar organizations that provide mediation may be found on the internet.

      3. Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
      arguments to the person who decides the outcome. In "binding" arbitration, the arbitrator's
      decision is final; there is no right to trial. In "nonbinding" arbitration, any party can request a
      trial after the arbitrator's decision. For more information about arbitration, visit
      http://www.courts.ca.gov/progranis-adr.htni

      4. Mandatory Settlement Conferences(MSC): MSCs are ordered by the Court and are often held close
      to the trial date or on the day of trial. The parties and their attorneys meet with a judge or settlement
      officer who does not make a decision but who instead assists the parties in evaluating the strengths and
      weaknesses of the case and in negotiating a settlement. For information about the Court's MSC
      programs for civil cases, visit http://www.!a court.orgiclivision/civil/C10047.aspx

      Los Angeles Superior Court ADR website: http://www.lacourt.orgiclivision/civil/C10109.aspx
      For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm


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                                   VOLUNTARY EFFICIENT LITIGATION STIPULATIONS


                                      The Early Organizational Meeting Stipulation, Discovery
                                   Resolution Stipulation, and Motions in Limine Stipulation are
Superior Court of California       voluntary stipulations entered into by the parties. The parties
County of Los Angeles

                                   may enter into one, two, or all three of the stipulations;
                                   however, they may not alter the stipulations as written,
 LACBA
 LOS ANGELES                       because the Court wants to ensure uniformity of application.
Los Angeles County
Bar Association                    These stipulations are meant to encourage cooperation
Litigation Section

Los Angeles County
                                   between the parties and to assist in resolving issues in a
Bar Association Labor and
Employment Law Section             manner that promotes economic case resolution and judicial
                                   efficiency.
   I  —            •r

                                      The    following   organizations endorse       the   goal of
Consumer Attorneys
Association of Los Angeles         promoting efficiency in litigation and ask that counsel
                                   consider using these stipulations as a voluntary way to
                                   promote communications and procedures among counsel
                                   and with the court to fairly resolve issues in their cases.

                                   *Los Angeles County Bar Association Litigation Section*
Southern California
Defense Counsel

                                            •Los Angeles County Bar Association

0
,4%1011,
                                                 Labor and Employment Law Section•
                tl
Association of
Business Trial Lawyers                *Consumer Attorneys Association of Los Angeles*


                                            *Southern California Defense Counsel*


                                            *Association of Business Trial Lawyers*
      alMTIMG   rvinovrr IVO/4TV

California Employment
Lawyers Association
                                        *California Employment Lawyers Association*


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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's Ple Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER.
           STIPULATION — EARLY ORGANIZATIONAL MEETING

      This stipulation is intended to encourage cooperation among the parties at an early stage in
      the litigation and to assist the parties in efficient case resolution.

      The parties agree that:

       1. The parties commit to conduct an initial conference (in-person or via teleconference or via
          videoconference) within 15 days from the date this stipulation is signed, to discuss and consider
          whether there can be agreement on the following:

             a. Are motions to challenge the pleadings necessary? If the issue can be resolved by
                amendment as of right, or if the Court would allow leave to amend, could an amended
                complaint resolve most or all of the issues a demurrer might otherwise raise? If so, the parties
                agree to work through pleading issues so that a demurrer need only raise issues they cannot
                resolve. Is the issue that the defendant seeks to raise amenable to resolution on demurrer, or
                would some other type of motion be preferable? Could a voluntary targeted exchange of
                documents or information by any party cure an uncertainty in the pleadings?

             b. Initial mutual exchanges of documents at the "core" of the litigation. (For example, in an
                employment case, the employment records, personnel file and documents relating to the
                conduct in question could be considered "core." In a personal injury case, an incident or
                police report, medical records, and repair or maintenance records could be considered
                "core.");

             c. Exchange of names and contact information of witnesses;

             d. Any insurance agreement that may be available to satisfy part or all of a judgment, or to
                indemnify or reimburse for payments made to satisfy a judgment;

             e. Exchange of any other information that might be helpful to facilitate understanding, handling,
                or resolution of the case in a manner that preserves objections or privileges by agreement;

             f.   Controlling issues of law that, if resolved early, will promote efficiency and economy in other
                  phases of the case. Also, when and how such issues can be presented to the Court;

             g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                court ruling on legal issues is reasonably required to make settlement discussions meaningful,
                and whether the parties wish to use a sitting judge or a private mediator or other options as
      LACIV 229 (Rev 02/15)
      LASC Approved 04/11              STIPULATION — EARLY ORGANIZATIONAL MEETING
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               discussed in the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

      h. Computation of damages, including documents, not privileged or protected from disclosure, on
         which such computation is based;

      i.       Whether the case is suitable for the Expedited Jury Trial procedures (see information at
               www.lacourtorq under "Civil' and then under "General Information").

2.             The time for a defending party to respond to a complaint or cross-complaint will be extended
               to                         for the complaint, and                             for the cross-
                        (INSERT DATE)                                       (INSERT DATE)
               complaint, which is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at www.lacourt.orq under "Civil",
               click on "General Information", then click on "Voluntary Efficient Litigation Stipulations".

3.             The parties will prepare a joint report titled "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

4.             References to "days" mean calendar days, unless otherwise noted. If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

The following parties stipulate:
Date:


                  (TYPE OR PRINT NAME)                                       (ATTORNEY FOR PLAINTIFF)
Date:


                 (TYPE OR PRINT NAME)                                       (ATTORNEY FOR DEFENDANT)
Date:


                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:


                  (TYPE OR PRINT NAME)                                      (ATTORNEY FOR DEFENDANT)
Date:


                 (TYPE OR PRINT NAME)                                 (ATTORNEY FOR
Date:


                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR
Date:


                  (TYPE OR PRINT NAME)                                (ATTORNEY FOR


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NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER:
                    STIPULATION — DISCOVERY RESOLUTION

      This stipulation is intended to provide a fast and informal resolution of discovery issues
      through limited paperwork and an informal conference with the Court to aid in the
      resolution of the issues.

      The parties agree that:

       1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
          the moving party first makes a written request for an Informal Discovery Conference pursuant
          to the terms of this stipulation.

      2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
         and determine whether it can be resolved informally. Nothing set forth herein will preclude a
         party from making a record at the conclusion of an Informal Discovery Conference, either
         orally or in writing.

      3. Following a reasonable and good faith attempt at an informal resolution of each issue to be
         presented, a party may request an Informal Discovery Conference pursuant to the following
         procedures:

                  a. The party requesting the Informal Discovery Conference will:

                      i.     File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                     ii.      Include a brief summary of the dispute and specify the relief requested; and

                    iii.     Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for Informal Discovery
                             Conference no later than the next court day following the filing.

                  b. Any Answer to a Request for Informal Discovery Conference must:

                      i.      Also be filed on the approved form (copy attached);

                     ii.      Include a brief summary of why the requested relief should be denied;
      LACIV 036 (new)
      LASC Approved 04/11                      STIPULATION — DISCOVERY RESOLUTION
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               iii.   Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

      c. No other pleadings, including but not limited to exhibits, declarations, or attachments, will
         be accepted.

      d. If the Court has not granted or denied the Request for Informal Discovery Conference
         within ten (10) days following the filing of the Request, then it shall be deemed to have
         been denied. If the Court acts on the Request, the parties will be notified whether the
         Request for Informal Discovery Conference has been granted or denied and, if granted,
         the date and time of the Informal Discovery Conference, which must be within twenty (20)
         days of the filing of the Request for Informal Discovery Conference.

      e. If the conference is not held within twenty (20) days of the filing of the Request for
         I nformal Discovery Conference, unless extended by agreement of the parties and the
         Court, then the Request for the Informal Discovery Conference shall be deemed to have
         been denied at that time.

4. If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
   without the Court having acted or (c) the Informal Discovery Conference is concluded without
   resolving the dispute, then a party may file a discovery motion to address unresolved issues.

5. The parties hereby further agree that the time for making a motion to compel or other
   discovery motion is tolled from the date of filing of the Request for Informal Discovery
   Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
   filing of the Request for Informal Discovery Conference, whichever is earlier, unless extended
   by Order of the Court.

      It is the understanding and intent of the parties that this stipulation shall, for each discovery
      dispute to which it applies, constitute a writing memorializing a "specific later date to which
      the propounding [or demanding or requesting] party and the responding party have agreed in
      writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
      2033.290(c).

6. Nothing herein will preclude any party from applying ex parte for appropriate relief, including
   an order shortening time for a motion to be heard concerning discovery.

7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
   terminate the stipulation.

8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
   any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
   for performing that act shall be extended to the next Court day.



LACIV 036 (new)
LASC Approved 04/11             STIPULATION — DISCOVERY RESOLUTION
For Optional Use                                                                              EXHIBITPage
                                                                                                      A, PAGE
                                                                                                          2 of 3 58
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 47 of 62 Page ID #:60
SHORT TITLE'                                                    CASE NUMBER




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                           (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                          (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                   (ATTORNEY FOR




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LAO IV 036 (new)
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For Optional Use                                                                EXHIBITPage
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      Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 48 of 62 Page ID #:61



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER                        Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):
SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                                     CASE NUMBER:
                        INFORMAL DISCOVERY CONFERENCE
              (pursuant to the Discovery Resolution Stipulation of the parties)
       1. This document relates to:
                              Request for Informal Discovery Conference
                              Answer to Request for Informal Discovery Conference
      2. Deadline for Court to decide on Request:                                         (insert date 10 calendar days following filing of
             the Request).

      3. Deadline for Court to hold Informal Discovery Conference:                                                (Insert date 20 calendar
             days following filing of the Request).

      4. For a Request for Informal Discovery Conference, briefly describe the nature of the
         discovery dispute, including the facts and legal arguments at issue. For an Answer to
         Request for Informal Discovery Conference, briefly describe why the Court should deny
         the requested discovery, including the facts and legal arguments at issue.




      LAO IV 094(new)
      LASC Approved 04/11
                                                  INFORMAL DISCOVERY CONFERENCE
      For Optional Use                  (pursuant to the Discovery Resolution Stipulation of the parties)             EXHIBIT A, PAGE 60
            Print                       Save                                                                                Clear    I
      Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 49 of 62 Page ID #:62



NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY:                STATE BAR NUMBER            Reserved for Clerk's File Stamp




          TELEPHONE NO.:                                  FAX NO.(Optional):
 E-MAIL ADDRESS (Optional):
    ATTORNEY FOR (Name):

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:


PLAINTIFF:


DEFENDANT:


                                                                                          CASE NUMBER'

              STIPULATION AND ORDER — MOTIONS IN LIMINE


      This stipulation is intended to provide fast and informal resolution of evidentiary
      issues through diligent efforts to define and discuss such issues and limit paperwork.


      The parties agree that:

       1. At least       days before the final status conference, each party will provide all other
          parties with a list containing a one paragraph explanation of each proposed motion in
          limine. Each one paragraph explanation must identify the substance of a single proposed
          motion in limine and the grounds for the proposed motion.

      2. The parties thereafter will meet and confer, either in person or via teleconference or
         videoconference, concerning all proposed motions in limine. In that meet and confer, the
         parties will determine:

             a. Whether the parties can stipulate to any of the proposed motions. If the parties so
                stipulate, they may file a stipulation and proposed order with the Court.

             b. Whether any of the proposed motions can be briefed and submitted by means of a
                short joint statement of issues. For each motion which can be addressed by a short
                joint statement of issues, a short joint statement of issues must be filed with the Court
                10 days prior to the final status conference. Each side's portion of the short joint
                statement of issues may not exceed three pages. The parties will meet and confer to
                agree on a date and manner for exchanging the parties' respective portions of the
                short joint statement of issues and the process for filing the short joint statement of
                issues.

      3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
         a short joint statement of issues will be briefed and filed in accordance with the California
         Rules of Court and the Los Angeles Superior Court Rules.



      LACIV 075(new)
      LASC Approved 04/11               STIPULATION AND ORDER — MOTIONS IN LIMINE
      For Optional Use                                                                                   EXHIBITPage
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SHORT TITLE:                                                 CASE NUMBER:




The following parties stipulate:

Date:

               (TYPE OR PRINT NAME)                      (ATTORNEY FOR PLAINTIFF)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                     (ATTORNEY FOR DEFENDANT)
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR
Date:

               (TYPE OR PRINT NAME)                 (ATTORNEY FOR



THE COURT SO ORDERS.

  Date:
                                                              JUDICIAL OFFICER




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LACIV 075(new)
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     Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 51 of 62 Page ID #:64




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                                                                        FILED
                                                                    LOS ANGELES SUPERIOR
                                                                                             COURT

 3                                                                           MAY 1 1 2011
 4                                                                      JOHN A
                                                                             At CLARKE,‘Q...ERK
 5                                                                    BY NA CY   avamv
                                                                               AVARRO, DEPUTY

 6

 7                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8                             FOR THE COUNTY OF LOS ANGELES
 9
      General Order Re                           )    ORDER PURSUANT TO CCP 1054(a),
10
      Use of Voluntary Efficient Litigation      )    EXTENDING TIME TO RESPOND BY
11    Stipulations                               )    30 DAYS WHEN PARTIES AGREE
                                                 )    TO EARLY ORGANIZATIONAL
12                                               )    MEETING STIPULATION
13

14
              Whereas the Los Angeles Superior Court and the Executive Committee of the
15
       Litigation Section of the Los Angeles County Bar Association have cooperated in
16

17
      drafting "Voluntary Efficient Litigation Stipulations" and in proposing the stipulations for

18     use in general jurisdiction civil litigation in Los Angeles County;
19            Whereas the Los Angeles County Bar Association Litigation Section; the Los
20
      Angeles County Bar Association Labor and Employment Law Section; the Consumer
21
      Attorneys Association of Los Angeles; the Association of Southern California Defense
22

23
      Counsel; the Association of Business Trial Lawyers of Los Angeles; and the California

24    Employment Lawyers Association all "endorse the goal of promoting efficiency in
25
      litigation, and ask that counsel consider using these stipulations as a voluntary way to
26
      promote communications and procedures among counsel and with the court to fairly
27
      resolve issues in their cases,"
28


                                                   -1-

                                 ORDER PURSUANT TO CCP 1054(a)                           EXHIBIT A, PAGE 63
     Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 52 of 62 Page ID #:65




              Whereas the Early Organizational Meeting Stipulation is intended to encourage
 1

 2    cooperation among the parties at an early stage in litigation in order to achieve

 3     litigation efficiencies;
 4
              Whereas it is intended that use of the Early Organizational Meeting Stipulation
 5
      will promote economic case resolution and judicial efficiency;
 6

 7
              Whereas, in order to promote a meaningful discussion of pleading issues at the

 8    Early Organizational Meeting and potentially to reduce the need for motions to
 9    challenge the pleadings, it is necessary to allow additional time to conduct the Early
10
      Organizational Meeting before the time to respond to a complaint or cross complaint
11
       has expired;
12

13            Whereas Code of Civil Procedure section 1054(a) allows a judge of the court in

14    which an action is pending to extend for not more than 30 days the time to respond to
15
      a pleading "upon good cause shown";
16
              Now, therefore, this Court hereby finds that there is good cause to extend for 30
17
      days the time to respond to a complaint or to a cross complaint in any action in which
18

19    the parties have entered into the Early Organizational Meeting Stipulation. This finding

20    of good cause is based on the anticipated judicial efficiency and benefits of economic
21
      case resolution that the Early Organizational Meeting Stipulation is intended to
22
      promote.
23

24
              IT IS HEREBY ORDERED that, in any case in which the parties have entered

25    into an Early Organizational Meeting Stipulation, the time for a defending party to

26    respond to a complaint or cross complaint shall be extended by the 30 days permitted
27

28

                                                 -2-

                                  ORDER PURSUANT TO CCP 1054(a)                     EXHIBIT A, PAGE 64
     Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 53 of 62 Page ID #:66




       by Code of Civil Procedure section 1054(a) without further need of a specific court
 1

 2     order.

 3

 4
       DATED:
 5                                              Carolyn B. Kuh Supervising Judge of the
 6
                                                Civil Departments, Los Angeles Superior Court

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                                ORDER PURSUANT TO CCP 1054(a)                       EXHIBIT A, PAGE 65
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 54 of 62 Page ID #:67

                                                                         Service of Process
                                                                         Transmittal
                                                                         01/12/2022
                                                                         CT Log Number 540872532
    TO:     Jeff Knipmeyer
            Sms Holdings, Inc.
            7135 CHARLOTTE PIKE STE 100
            NASHVILLE, TN 37209-5015

    RE:     Process Served in California

    FOR:    MYDATT SERVICES, INC. (Domestic State: OH)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                Re: CESAR J BARRIOS GARAY individually and behalf of those similarly situated // To:
                                    MYDATT SERVICES, INC.
    DOCUMENT(S) SERVED:             --
    COURT/AGENCY:                   None Specified
                                    Case # 21STCV46157
    NATURE OF ACTION:               Employee Litigation
    ON WHOM PROCESS WAS SERVED:     C T Corporation System, GLENDALE, CA
    DATE AND HOUR OF SERVICE:       By Process Server on 01/12/2022 at 01:43
    JURISDICTION SERVED :           California
    APPEARANCE OR ANSWER DUE:       None Specified
    ATTORNEY(S) / SENDER(S):        None Specified
    ACTION ITEMS:                   CT will retain the current log

                                    Image SOP

                                    Email Notification, Lorraine Brooks lbrooks@smsholdings.com

                                    Email Notification, David Cater dcater@smsholdings.com

                                    Email Notification, Nickolas E. Schimmel nschimmel@smsholdings.com

                                    Email Notification, Hiram Cox hcox@smsholdings.com

                                    Email Notification, Jeff Knipmeyer jknipmeyer@smsholdings.com
                                    Email Notification, MICHELLE SCHEIBLE mscheible@smsholdings.com

                                    Email Notification, Bill Stejskal bstejskal@smsholdings.com

                                    Email Notification, Rebecca Elzarad relzarad@smsholdings.com

    REGISTERED AGENT ADDRESS:       C T Corporation System
                                    330 N BRAND BLVD
                                    STE 700




                                                                         Page 1 of 2 / JS




                                                                                                   EXHIBIT A, PAGE 66
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 55 of 62 Page ID #:68

                                                                                                        Service of Process
                                                                                                        Transmittal
                                                                                                        01/12/2022
                                                                                                        CT Log Number 540872532
    TO:         Jeff Knipmeyer
                Sms Holdings, Inc.
                7135 CHARLOTTE PIKE STE 100
                NASHVILLE, TN 37209-5015

    RE:         Process Served in California

    FOR:        MYDATT SERVICES, INC. (Domestic State: OH)




                                                      GLENDALE, CA 91203
                                                      866-665-5799
                                                      SouthTeam2@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.


    DOCKET HISTORY:

                DOCUMENT(S) SERVED:                   DATE AND HOUR OF SERVICE:                         TO:                                   CT LOG NUMBER:

                --                                    By Certified Mail on 12/27/2021 at                Jeff Knipmeyer                        540797605
                                                      13:47 postmarked: "Not Post Marked"               Sms Holdings, Inc.

                --                                    By Process Server on 12/22/2021 at                Jeff Knipmeyer                        540781867
                                                      10:33                                             Sms Holdings, Inc.




                                                                                                        Page 2 of 2 / JS




                                                                                                                                            EXHIBIT A, PAGE 67
Case 2:22-cv-00469-FLA-PD Document 1-1 Filed 01/21/22 Page 56 of 62 Page ID #:69



                                                              Wolters Kluwer

                      PROCESS SERVER DELIVERY DETAILS




Date:                    Wed, Jan 12, 2022

Server Name:             Carlos Canas




Entity Served            MYDATT SERVICES, INC.

Case Number              215TCV46157

J urisdiction            CA




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                                                                    EXHIBIT A, PAGE 68
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        SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 10

    21STCV46157
    CESAR J BARRIOS GARAY vs MYDATT SERVICES INC.


    Judge: Honorable William F. Highberger            CSR: None
    Judicial Assistant: M.Mata                        ERM:None
    Courtroom Assistant: None                         Deputy Sheriff: None

    APPEARANCES:
    For Plaintiff(s): No Appearances
    For Defendant(s): No Appearances




    NATURE OF PROCEEDINGS: Court Order re: Complex Designation

    By this order, the Court determines this case to be Complex according to Rule 3.400 ofthe
    California Rules of Court. The Clerk's Office has randomly assigned this case to this department
    for all purposes.

    By this order, the Court stays the case, except for service ofthe Summons and Complaint. The
    stay continues at least until the Initial Status Conference. Initial Status Conference is set for
    03/04/2022 at 02:00 PM in this department. At least 10 days prior to the Initial Status
    Conference, counsel for all parties must discuss the issues set forth in the Initial Status
    Conference Order issued this date. The Initial Status Conference Order is to help the Court and
    the parties manage this complex case by developing an orderly schedule for briefing, discovery,
    and court hearings. The parties are informally encouraged to exchange documents and
    information as may be useful for case evaluation.

    Responsive pleadings shall not be filed until further Order ofthe Court. Parties must file a Notice
    of Appearance in lieu ofan Answer or other responsive pleading. The filing Ofa Notice of
    Appearance shall not constitute a waiver ofany substantive or procedural challenge to the
    Complaint. Nothing in this order stays the time for filing an Affidavit ofPrejudice pursuant to
    Code ofCivil Procedure Section 170.6.

    Counsel are directed to access the following link for information on procedures in the Complex
    litigation Program courtrooms: http://www.lacourtorg/division/civi1/CI0037.aspx

    Pursuant to Government Code Sections 70616(a)and 70616(b), a single complex fee ofone
    thousand dollars($1,000.00) must be paid on behalf of all plaintiffs. For defendants, a complex
    fee of one thousand dollars ($1,000.00) must be paid for each defendant, intervenor, respondent
    or adverse party, not to exceed,for each separate case number,a total ofeighteen thousand
    dollars($18,000.00), collected from all defendants, intervenors, respondents, or adverse parties.
                                              Minute Order                                 Page 1 of5


                                                                                          EXHIBIT A, PAGE 69
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       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                            Civil Division
                        Central District, Spring Street Courthouse, Department 10

    21STCV46157                                                                        January 7,2022
    CESAR J BARRIOS GARAY vs MYDATT SERVICES INC.                                            9:56 AM


    Judge: Honorable William F. Highberger             CSR: None
    Judicial Assistant: M. Mata                        ERM:None
    Courtroom Assistant: None                          Deputy Sheriff: None

    All such fees are ordered to be paid to Los Angeles Superior Court, within 10 days ofservice of
    this order.

    The plaintiff must serve a copy of this minute order and the attached Initial Status Conference
    Order on all parties forthwith and file a Proof of Service in this department within 7 days of
   •service.

    Please disregard any mention of attached Initial Status Conference Order. This Department no
    longer issues a separate Initial Status Conference Order. This minute order is the Court's Initial
    Status Conference Order.

    Please note the Court has changed its order as to the timing ofthe selection by the parties of a
    third-party cloud service. Due to the pandemic and the urgent need to avoid court appearances,
    the parties MUST sign up with the service at least ten court days in advance ofthe Initial Status
    Conference. See Section 15.

    The Court orders counsel to prepare for the Initial Status Conference by identifying and
    discussing the central legal and factual issues in the case. Counsel for plaintiffis ordered to
    initiate contact with counsel for defense to begin this process. Counsel then must negotiate and
    agree, as possible, on a case management plan. To this end,counsel must file a Joint Initial
    Status Conference Class Action Response Statement five(5)court days before the Initial Status
    Conference. The Joint Response Statement must be filed on line-numbered pleading paper and
    must specifically answer each ofthe below-numbered questions. Do not the use the Judicial
    Council Form CM-110(Case Management Statement)for this purpose.

    1.PARTIES,COUNSEL AND ISSUES: Please list all presently-named class representatives
    and presently-named defendants, together with all counsel ofrecord, including counsel's contact
    and email information. Provide a short summary ofplaintiff's causes of actions and contentions
    and,ifpossible, defendant's defenses.

    2.POTENTIAL ADDITIONAL PARTIES: Does any plaintiff presently intend to add more class
    representatives? If so, and ifknown,by what date and by what name? Does any plaintiff
    presently intend to name more defendants? If so, and if known,by what date and by what name?
    Does any appearing defendant presently intend to file a cross-complaint? If so, who will be
    named.

    3.IMPROPERLY NAMED DEFENDANT(S):Ifthe complaint names the wrong person or
    entity, please explain.
                                Minute Order                           Page 2 of5


                                                                                          EXHIBIT A, PAGE 70
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        SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                               Civil Division
                         Central District, Spring Street Courthouse, Department 10

    21STCV46157                                                                          January 7, 2022
    CESAR J BARRIOS GARAY vs MYDATT SERVICES INC.                                              9:56 AM


    Judge: Honorable William F. Highberger              CSR: None
    Judicial Assistant: M. Mata                         ERM:None
    Courtroom Assistant: None                           Deputy Sheriff: None


    4. ADEQUACY OF PROPOSED CLASS REPRESENTATIVE(S): If any party believes one or
    more named plaintiffs might not be an adequate class representative, please explain. No
    prejudice will attach to these responses.

    5.ESTIMATED CLASS SIZE: Please discuss and indicate the estimated class size.

    6. OTHER ACTIONS WITH OVERLAPPING CLASS DEFINITIONS: Please list other cases
    with overlapping class definitions. Please identify the court, the short caption title, the docket
    number, and the case status.

    7.POTENTIALLY RELEVANT ARBITRATION AND/OR CLASS ACTION WAIVER
    CLAUSES:Please include a sample ofany clause ofthis sort. Opposing parties must summarize
    their views on this issue.

    8.POTENTIAL EARLY CRUCIAL MOTIONS: Opposing counsel are to identify and describe
    the significant core issues in the case. Counsel then are to identify efficient ways to resolve those
    issues. The vehicles include:•Early motions in limine,• Early motions about particular jury
    instructions,•Demurrers,• Motions to strike,•Motions for judgment on the pleadings, and •
    Motions for summary judgment and summary adjudication.

   9. CLASS CONTACT INFORMATION: Does plaintiff need class contact information from the
   defendant's records? If so, do the parties consent to an "opt-out" notice process(as approved in
   Belaire-West Landscape,Inc. v. Superior Court(2007) 149 Cal.App.4th 554,561)to precede
   defense delivery ofthis information to plaintifrs counsel? Ifthe parties agree on the notice
   process, who should pay for it? Should there be a third-party administrator?

   10.PROTECTIVE ORDERS:Parties considering an order to protect confidential information
   from general disclosure should begin with the model protective orders found on the Los Angeles
   Superior Court Website under "Civil Tools for Litigators."

   1 1. DISCOVERY:Please discuss discovery.Do the parties agree on a plan? If not, can the
   parties negotiate a compromise? At minimum,please summarize each side's views on discovery.
   The Court generally allows discovery on matters relevant to class certification, which (depending
   on circumstances) may include factual issues also touching the merits. The Court generally does
   not permit extensive or expensive discovery relevant only to the merits(for example, detailed
   damages discovery)unless a persuasive showing establishes early need. If any party seeks
   discovery from absent class members, please estimate bow many,and also state the kind of
                                            Minute Order                                  Page 3 of5


                                                                                            EXHIBIT A, PAGE 71
        AP,
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        SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                               Civil Division
                         Central District, Spring Street Courthouse, Department 10

    21STCV46157                                                                          January 7,2022
    CESAR J BARRIOS GARAY vs MYDATT SERVICES INC.                                              9:56 AM


    Judge: Honorable William F. Highberger              CSR: None
    Judicial Assistant: M.Mata                          ERM:None
    Courtroom Assistant: None                           Deputy Sheriff: None

    discovery you propose.

    12.INSURANCE COVERAGE:Please state if there is insurance for indemnity or
    reimbursement.

    13. ALTERNATIVE DISPUTE RESOLUTION: Please discuss ADR and state each party's
    position about it. If pertinent, how can the Court help identify the correct neutral and prepare the
    case for a successful settlement negotiation?

    14. TIMELINE FOR CASE MANAGEMENT:Please recommend dates and times for the
    following:
    • The next status conference, if a status conference is needed. The Court does not schedule status
    conferences for "routine" cases. The normal procedure is the Court will give a deadline for the
    motion for class certification with a non-appearance hearing set a few court days after the
    deadline;
    • A schedule for alternative dispute resolution, if it is relevant;• A filing deadline for the motion
    for class certification; and
    • Filing deadlines and descriptions for other anticipated non-discovery motions.

    15. ELECTRONIC SERVICE OF PAPERS: For efficiency the complex program requires the
    parties in every new case to use a third-party cloud service (also known as an e-service provider).
    The parties must sign up with the provider at least ten court days in advance ofthe initial status
    conference and advise the Court, via email to sscdept10@lacourt.org, which provider was
    selected.

    16. REMINDER WHEN SEEKING TO DISMISS OR TO OBTAIN SETTLEMENT
    APPROVAL:"A dismissal ofan entire class action, or ofany party or cause of action in a class
    action, requires Court approval... Requests for dismissal must be accompanied by a declaration
    setting forth the facts on which the party relies. The declaration must clearly state whether
    consideration, direct or indirect, is being given for the dismissal and must describe the
    consideration in detail." Ifthe parties have settled the class action,that too will require judicial
    approval based on a noticed motion (although it may be possible to shorten time by consent for
    good cause shown).

    17. STAY OF PROCEEDINGS.Pending further order ofthis Court,and except as otherwise
    provided in this Initial Status Conference Order,these proceedings are stayed in their entirety.
    This stay shall preclude the filing ofany answer, demurrer, motion to strike, or motions
    challenging the jurisdiction ofthe Court. However, any defendant may file a Notice of
                                               Minute Order                                Page 4 of5


                                                                                            EXHIBIT A, PAGE 72
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       SUPERIOR COURT OF CALIFORNIA,COUNTY OF LOS ANGELES
                                              Civil Division
                        Central District, Spring Street Courthouse, Department 10

    21STCV46157                                                                        January 7, 2022
    CESAR J BARRIOS GARAY vs MYDATT SERVICES INC.                                            9:56 AM


    Judge: Honorable William F.Highberger              CSR: None
    Judicial Assistant: M.Mata                         ERM:None
    Courtroom Assistant: None                          Deputy Sheriff: None

    Appearance for purposes ofidentification ofcounsel and preparation of a service list. The filing
    ofsuch a Notice of Appearance shall be without prejudice to any challenge to the jurisdiction of
    the Court, substantive or procedural challenges to the Complaint, without prejudice to any
    affirmative defense, and without prejudice to the filing of any cross-complaint in this action. This
    stay is issued to assist the Court and the parties in managing this "complex" case through the
    development of an orderly schedule for briefing and hearings on procedural and substantive
    challenges to the complaint and other issues that may assist in the orderly management ofthese
    cases. This stay shall not preclude the parties from informally exchanging documents that may
    assist in their initial evaluation ofthe issues presented in this case, however shall stay all
    outstanding discovery requests.

    18. SERVICE OF THIS ORDER.Plaintiff's counsel is directed to serve a copy of this Initial
    Status Conference Order on counsel for all parties, or if counsel has not been identified, on all
    parties, within five(5)days of service of this order. If any defendant has not been served in this
    action, service is to be completed within twenty(20)days ofthe date of this order.

    Certificate of Mailing is attached.




                                               Minute Order                                 Page 5 of5


                                                                                          EXHIBIT A, PAGE 73
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             SUPERIOR COURT OF CALIFORNIA
                COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:                                                                         FILED
                                                                                     StotiZer Cala of Calirpirtia
 Spring Street Courthouse                                                              couniyat LosaelgEws
 312 North Spring Street, Los Angeles, CA 90012                                          01/07/2022
 PLAINTIFF/PETITIONER:                                                       Siern R. Calt-,Exccusye0                   Cou'
 Cesar J Barrios Garay                                                        ily:              ki.Mata
 DEFENDANT/RESPONDENT:
 MYDATT SERVICES INC. et al
                                                                             CASE NUMBER:
                         CERTIFICATE OF MAILING                              21S1CV46157

 I,the below-mamed Executive Officer/Clerk of the above-entitled court, do horeby certify that I am not 3
  party to the cause herein, and that on this date I served the Minute Order(Court Order re: Complex
 Designation) of 01/07/2022 upon each party or counsel named below by placing the document for
 collection and mailing so as to cause it to be deposited in the United States mail at the courthouse in Los
 Angeles, California, one copy of the original filed/entered herein in a separate sealed envelope to each
 address as shown below with the postage thereon fully prepaid, in accordance with standard court
 practices.




     Marcus Joseph Bradley
     Bradley/Grombacher LLP
     31365 Oak Crest Dr Ste 240
     Westlake Village, CA 91361




                                                      Sherri R. Carter, Executive Officer / Clerk of Court
Dated: 01/7/2022                                       By: M. Math
                                                           Deputy Clerk




                                     'CERTIFICATE OF MAILING                                      EXHIBIT A, PAGE 74
